                                                                                                 Case 17-31052                     Doc 17              Filed 01/16/18 Entered 01/16/18 14:55:32                                                     Desc Main
                                                                                                                                                        Document     Page 1 of 67

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Richard M. Shove

                                                                                    Debtor 2        Kathleen E. Shove
                                                                                    (Spouse, if filing)                                                                                                                                           Check if this is an amended
                                                                                                                                                                                                                                                  filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number            3:17-bk-31052
                                                                                    (If known)



                                                                               Official Form 106Sum
                                                                               Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                              12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
                                                                               your original forms, you must fill out a new Summary and check the box at the top of this page.


                                                                                Part 1:              Summarize Your Assets

                                                                                                                                                                                                                                                               Your assets
                                                                                                                                                                                                                                                               Value of what
                                                                                                                                                                                                                                                               you own

                                                                               1.    Schedule A/B: Property (Official Form 106A/B)
                                                                                     1a. Copy line 55, Total real estate, from Schedule A/B .........................................................................................                             $1,414,100.00

                                                                                     1b. Copy line 62, Total personal property, from Schedule A/B ..............................................................................                                     $40,666.77

                                                                                     1c. Copy line 63, Total of all property on Schedule A/B.........................................................................................                             $1,454,766.77
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                                                                                Part 2:              Summarize Your Liabilities

                                                                                                                                                                                                                                                               Your liabilities
                                                                                                                                                                                                                                                               Amount you owe

                                                                               2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of
                                                                                     Schedule D.............................................................................................................................................................      $1,891,956.39

                                                                               3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................                                                           $0.00

                                                                                     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.......................                                                       $776,272.63

                                                                                                                                                                                                                            Your total liabilities                $2,668,229.02


                                                                                Part 3:              Summarize Your Income and Expenses

                                                                               4.    Schedule I: Your Income (Official Form 106I)
                                                                                     Copy your combined monthly income from line 12 of Schedule I ..........................................................................                                          $5,722.98

                                                                               5.    Schedule J: Your Expenses (Official Form 106J)
                                                                                     Copy your monthly expenses from line 22, Column A, of Schedule J. ..................................................................                                             $8,448.48




                                                                               Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                             Page 1
                                                                                              Case 17-31052                       Doc 17             Filed 01/16/18 Entered 01/16/18 14:55:32                                                   Desc Main
                                                                               Debtor 1     Richard M. Shove                                                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                                      Document     Page 2 of 67


                                                                                Part 4:            Answer These Questions for Administrative and Statistical Records

                                                                               6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?
                                                                                        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other
                                                                                        schedules.
                                                                                        Yes

                                                                               7.   What kind of debt do you have?
                                                                                       Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
                                                                                       family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9 for statistical purposes. 28 U.S.C. § 159.
                                                                                       Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and
                                                                                       submit this form to the court with your other schedules.

                                                                               8.   From the Statement of Your Current Monthly Income (Official Form 122A-1, 122B, or 122C-1):
                                                                                    Copy your total current monthly income from line 11.............................................................................................                                      N/A

                                                                               9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:..................................

                                                                               From Part 4 on Schedule E/F, copy the following:                                                                                                                            Total claim

                                                                                    9a. Domestic support obligations (Copy line 6a.)...................................................................................................                                   N/A

                                                                                    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)........................................................                                                     N/A

                                                                                    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) ..............................................                                                    N/A

                                                                                    9d. Student loans. (Copy line 6f.)...........................................................................................................................                         N/A

                                                                                    9e. Obligations arising out of a separation agreement or divorce that you did not report as priority claims.
                                                                                        (Copy line 6g.).................................................................................................................................................                  N/A

                                                                                    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)............................................                                                    N/A

                                                                                    9g. Total. Add lines 9a through 9f..........................................................................................................................                          N/A
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                                                                               Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                                                              Page 2
                                                                                                 Case 17-31052                        Doc 17     Filed 01/16/18 Entered 01/16/18 14:55:32                           Desc Main
                                                                                                                                                  Document     Page 3 of 67

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1         Richard M. Shove

                                                                                    Debtor 2         Kathleen E. Shove
                                                                                    (Spouse, if filing)                                                                                                           Check if this is an amended
                                                                                                                                                                                                                  filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number            3:17-bk-31052
                                                                                    (If known)



                                                                               Official Form 106A/B
                                                                               Schedule A/B: Property                                                                                                                                 12/15


                                                                               In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
                                                                               the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
                                                                               equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
                                                                               additional pages, write your name and case number (if known). Answer every question.


                                                                                Part 1:              Describe Each Residence, Building, Land or Other Real Estate You Own or Have an Interest in

                                                                               1.    Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

                                                                                            No. Go to Part 2.
                                                                                            Yes. Where is the property?
                                                                                     1.1 5 Crystal St.                                           What is the property? Check all that apply    Do not deduct secured claims or exemptions.
                                                                                            Street address, if available, or other description      Single-family home                         Put the amount of any secured claims on
                                                                                                                                                    Duplex or multi-unit building              Schedule D: Creditors Who Have Claims
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                                                                                                                                                    Condominium or cooperative                 Secured by Property.
                                                                                                                                                    Manufactured or mobile home
                                                                                            Lenox MA 01240                                          Land                                                                  Current value of
                                                                                                                                                                                                 Current value of
                                                                                            City, State, ZIP Code                                   Investment property                                                   the portion you
                                                                                                                                                                                               the entire property?
                                                                                                                                                    Timeshare                                                                  own?
                                                                                            Berkshire                                               Other
                                                                                            County                                                   N/A                                                $195,400.00              $195,400.00
                                                                                                                                                 Who has an interest in the property? Check
                                                                                                                                                     one
                                                                                                                                                     Debtor 1 only                             Describe the nature of your ownership interest
                                                                                                                                                     Debtor 2 only                             (such as fee simple, tenancy by the entireties, or
                                                                                                                                                     Debtor 1 and Debtor 2 only                a life estate), if known.
                                                                                                                                                     At least one of the debtors and another
                                                                                                                                                                                               TBE
                                                                                                                                                 Other information you wish to add about
                                                                                                                                                 this item, such as local property                   Check if this is community property
                                                                                                                                                 identification number:                              (see instructions)

                                                                                     1.2 7 Crystal St                                            What is the property? Check all that apply    Do not deduct secured claims or exemptions.
                                                                                            Street address, if available, or other description      Single-family home                         Put the amount of any secured claims on
                                                                                                                                                    Duplex or multi-unit building              Schedule D: Creditors Who Have Claims
                                                                                                                                                    Condominium or cooperative                 Secured by Property.
                                                                                                                                                    Manufactured or mobile home
                                                                                            Lenox MA 01240                                          Land                                                                  Current value of
                                                                                                                                                                                                 Current value of
                                                                                            City, State, ZIP Code                                   Investment property                                                   the portion you
                                                                                                                                                                                               the entire property?
                                                                                                                                                    Timeshare                                                                  own?
                                                                                            Berkshire                                               Other
                                                                                            County                                                   N/A                                                $196,600.00              $196,600.00
                                                                                                                                                 Who has an interest in the property? Check
                                                                                                                                                     one
                                                                                                                                                     Debtor 1 only                             Describe the nature of your ownership interest
                                                                                                                                                     Debtor 2 only                             (such as fee simple, tenancy by the entireties, or
                                                                                                                                                     Debtor 1 and Debtor 2 only                a life estate), if known.
                                                                                                                                                     At least one of the debtors and another
                                                                                                                                                                                               Joint w Spouse
                                                                                                                                                 Other information you wish to add about
                                                                                                                                                 this item, such as local property                   Check if this is community property
                                                                                                                                                 identification number:                              (see instructions)




                                                                               Official Form 106A/B                                                        Schedule A/B: Property                                                         Page 1
                                                                                              Case 17-31052                         Doc 17     Filed 01/16/18 Entered 01/16/18 14:55:32                           Desc Main
                                                                               Debtor 1    Richard M. Shove                                                                                                      Case number: 3:17-bk-31052
                                                                                                                                                Document     Page 4 of 67

                                                                                   1.3 8 Crystal St.                                           What is the property? Check all that apply    Do not deduct secured claims or exemptions.
                                                                                          Street address, if available, or other description      Single-family home                         Put the amount of any secured claims on
                                                                                                                                                  Duplex or multi-unit building              Schedule D: Creditors Who Have Claims
                                                                                                                                                  Condominium or cooperative                 Secured by Property.
                                                                                                                                                  Manufactured or mobile home
                                                                                          Lenox MA 01240                                          Land                                                                  Current value of
                                                                                                                                                                                               Current value of
                                                                                          City, State, ZIP Code                                   Investment property                                                   the portion you
                                                                                                                                                                                             the entire property?
                                                                                                                                                  Timeshare                                                                  own?
                                                                                          Berkshire                                               Other
                                                                                          County                                                   N/A                                                $212,100.00              $212,100.00
                                                                                                                                               Who has an interest in the property? Check
                                                                                                                                                   one
                                                                                                                                                   Debtor 1 only                             Describe the nature of your ownership interest
                                                                                                                                                   Debtor 2 only                             (such as fee simple, tenancy by the entireties, or
                                                                                                                                                   Debtor 1 and Debtor 2 only                a life estate), if known.
                                                                                                                                                   At least one of the debtors and another

                                                                                                                                               Other information you wish to add about
                                                                                                                                               this item, such as local property                  Check if this is community property
                                                                                                                                               identification number:                             (see instructions)

                                                                                   1.4 10 Crystal St.                                          What is the property? Check all that apply    Do not deduct secured claims or exemptions.
                                                                                          Street address, if available, or other description      Single-family home                         Put the amount of any secured claims on
                                                                                                                                                  Duplex or multi-unit building              Schedule D: Creditors Who Have Claims
                                                                                                                                                  Condominium or cooperative                 Secured by Property.
                                                                                                                                                  Manufactured or mobile home
                                                                                          Lenox MA 01240                                          Land                                                                  Current value of
                                                                                                                                                                                               Current value of
                                                                                          City, State, ZIP Code                                   Investment property                                                   the portion you
                                                                                                                                                                                             the entire property?
                                                                                                                                                  Timeshare                                                                  own?
                                                                                          Berkshire                                               Other
                                                                                          County                                                   N/A                                                $177,000.00              $177,000.00
                                                                                                                                               Who has an interest in the property? Check
                                                                                                                                                   one
                                                                                                                                                   Debtor 1 only                             Describe the nature of your ownership interest
                                                                                                                                                   Debtor 2 only                             (such as fee simple, tenancy by the entireties, or
                                                                                                                                                   Debtor 1 and Debtor 2 only                a life estate), if known.
                                                                                                                                                   At least one of the debtors and another
                                                                                                                                                                                             Joint w Spouse
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                                                                                                                                               Other information you wish to add about
                                                                                                                                               this item, such as local property                  Check if this is community property
                                                                                                                                               identification number:                             (see instructions)

                                                                                   1.5 12 Crystal St.                                          What is the property? Check all that apply    Do not deduct secured claims or exemptions.
                                                                                          Street address, if available, or other description      Single-family home                         Put the amount of any secured claims on
                                                                                                                                                  Duplex or multi-unit building              Schedule D: Creditors Who Have Claims
                                                                                                                                                  Condominium or cooperative                 Secured by Property.
                                                                                                                                                  Manufactured or mobile home
                                                                                          Lenox MA 01240                                          Land                                                                  Current value of
                                                                                                                                                                                               Current value of
                                                                                          City, State, ZIP Code                                   Investment property                                                   the portion you
                                                                                                                                                                                             the entire property?
                                                                                                                                                  Timeshare                                                                  own?
                                                                                          Berkshire                                               Other
                                                                                          County                                                   N/A                                                $155,400.00              $155,400.00
                                                                                                                                               Who has an interest in the property? Check
                                                                                                                                                   one
                                                                                                                                                   Debtor 1 only                             Describe the nature of your ownership interest
                                                                                                                                                   Debtor 2 only                             (such as fee simple, tenancy by the entireties, or
                                                                                                                                                   Debtor 1 and Debtor 2 only                a life estate), if known.
                                                                                                                                                   At least one of the debtors and another
                                                                                                                                                                                             Joint w Spouse
                                                                                                                                               Other information you wish to add about
                                                                                                                                               this item, such as local property                  Check if this is community property
                                                                                                                                               identification number:                             (see instructions)




                                                                               Official Form 106A/B                                                      Schedule A/B: Property                                                         Page 2
                                                                                              Case 17-31052                         Doc 17     Filed 01/16/18 Entered 01/16/18 14:55:32                           Desc Main
                                                                               Debtor 1    Richard M. Shove                                                                                                      Case number: 3:17-bk-31052
                                                                                                                                                Document     Page 5 of 67

                                                                                   1.6 30 Chestnut St.                                         What is the property? Check all that apply    Do not deduct secured claims or exemptions.
                                                                                          Street address, if available, or other description      Single-family home                         Put the amount of any secured claims on
                                                                                                                                                  Duplex or multi-unit building              Schedule D: Creditors Who Have Claims
                                                                                                                                                  Condominium or cooperative                 Secured by Property.
                                                                                                                                                  Manufactured or mobile home
                                                                                          Lee MA 01238                                            Land                                                                  Current value of
                                                                                                                                                                                               Current value of
                                                                                          City, State, ZIP Code                                   Investment property                                                   the portion you
                                                                                                                                                                                             the entire property?
                                                                                                                                                  Timeshare                                                                  own?
                                                                                          Berkshire                                               Other
                                                                                          County                                                   N/A                                                $151,600.00              $151,600.00
                                                                                                                                               Who has an interest in the property? Check
                                                                                                                                                   one
                                                                                                                                                   Debtor 1 only                             Describe the nature of your ownership interest
                                                                                                                                                   Debtor 2 only                             (such as fee simple, tenancy by the entireties, or
                                                                                                                                                   Debtor 1 and Debtor 2 only                a life estate), if known.
                                                                                                                                                   At least one of the debtors and another
                                                                                                                                                                                             Joint w Spouse
                                                                                                                                               Other information you wish to add about
                                                                                                                                               this item, such as local property                  Check if this is community property
                                                                                                                                               identification number:                             (see instructions)

                                                                                   1.7 32-36 Adams St.                                         What is the property? Check all that apply    Do not deduct secured claims or exemptions.
                                                                                          Street address, if available, or other description      Single-family home                         Put the amount of any secured claims on
                                                                                                                                                  Duplex or multi-unit building              Schedule D: Creditors Who Have Claims
                                                                                                                                                  Condominium or cooperative                 Secured by Property.
                                                                                                                                                  Manufactured or mobile home
                                                                                          Pittsfield MA 01201                                     Land                                                                  Current value of
                                                                                                                                                                                               Current value of
                                                                                          City, State, ZIP Code                                   Investment property                                                   the portion you
                                                                                                                                                                                             the entire property?
                                                                                                                                                  Timeshare                                                                  own?
                                                                                          Berkshire                                               Other
                                                                                          County                                                   N/A                                                 $80,000.00               $80,000.00
                                                                                                                                               Who has an interest in the property? Check
                                                                                                                                                   one
                                                                                                                                                   Debtor 1 only                             Describe the nature of your ownership interest
                                                                                                                                                   Debtor 2 only                             (such as fee simple, tenancy by the entireties, or
                                                                                                                                                   Debtor 1 and Debtor 2 only                a life estate), if known.
                                                                                                                                                   At least one of the debtors and another
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                                                                                                                                               Other information you wish to add about
                                                                                                                                               this item, such as local property                  Check if this is community property
                                                                                                                                               identification number:                             (see instructions)

                                                                                   1.8 524 Walker St.                                          What is the property? Check all that apply    Do not deduct secured claims or exemptions.
                                                                                          Street address, if available, or other description      Single-family home                         Put the amount of any secured claims on
                                                                                                                                                  Duplex or multi-unit building              Schedule D: Creditors Who Have Claims
                                                                                                                                                  Condominium or cooperative                 Secured by Property.
                                                                                                                                                  Manufactured or mobile home
                                                                                          Lenox MA 01240                                          Land                                                                  Current value of
                                                                                                                                                                                               Current value of
                                                                                          City, State, ZIP Code                                   Investment property                                                   the portion you
                                                                                                                                                                                             the entire property?
                                                                                                                                                  Timeshare                                                                  own?
                                                                                          Berkshire                                               Other
                                                                                          County                                                   N/A                                                $168,300.00              $168,300.00
                                                                                                                                               Who has an interest in the property? Check
                                                                                                                                                   one
                                                                                                                                                   Debtor 1 only                             Describe the nature of your ownership interest
                                                                                                                                                   Debtor 2 only                             (such as fee simple, tenancy by the entireties, or
                                                                                                                                                   Debtor 1 and Debtor 2 only                a life estate), if known.
                                                                                                                                                   At least one of the debtors and another
                                                                                                                                                                                             Joint w Spouse
                                                                                                                                               Other information you wish to add about
                                                                                                                                               this item, such as local property                  Check if this is community property
                                                                                                                                               identification number:                             (see instructions)




                                                                               Official Form 106A/B                                                      Schedule A/B: Property                                                         Page 3
                                                                                              Case 17-31052                         Doc 17     Filed 01/16/18 Entered 01/16/18 14:55:32                           Desc Main
                                                                               Debtor 1    Richard M. Shove                                                                                                      Case number: 3:17-bk-31052
                                                                                                                                                Document     Page 6 of 67

                                                                                    1.9 51-53 Orchard St.                                      What is the property? Check all that apply    Do not deduct secured claims or exemptions.
                                                                                          Street address, if available, or other description      Single-family home                         Put the amount of any secured claims on
                                                                                                                                                  Duplex or multi-unit building              Schedule D: Creditors Who Have Claims
                                                                                                                                                  Condominium or cooperative                 Secured by Property.
                                                                                                                                                  Manufactured or mobile home
                                                                                          Pittsfield MA 01201                                     Land                                                                  Current value of
                                                                                                                                                                                               Current value of
                                                                                          City, State, ZIP Code                                   Investment property                                                   the portion you
                                                                                                                                                                                             the entire property?
                                                                                                                                                  Timeshare                                                                  own?
                                                                                          Berkshire                                               Other
                                                                                          County                                                   N/A                                                 $77,700.00               $77,700.00
                                                                                                                                               Who has an interest in the property? Check
                                                                                                                                                   one
                                                                                                                                                   Debtor 1 only                             Describe the nature of your ownership interest
                                                                                                                                                   Debtor 2 only                             (such as fee simple, tenancy by the entireties, or
                                                                                                                                                   Debtor 1 and Debtor 2 only                a life estate), if known.
                                                                                                                                                   At least one of the debtors and another
                                                                                                                                                                                             Individually
                                                                                                                                               Other information you wish to add about
                                                                                                                                               this item, such as local property                  Check if this is community property
                                                                                                                                               identification number:                             (see instructions)

                                                                                    1.10 Various Rental Properties                             What is the property? Check all that apply    Do not deduct secured claims or exemptions.
                                                                                          Street address, if available, or other description      Single-family home                         Put the amount of any secured claims on
                                                                                                                                                  Duplex or multi-unit building              Schedule D: Creditors Who Have Claims
                                                                                          See Description                                         Condominium or cooperative                 Secured by Property.
                                                                                                                                                  Manufactured or mobile home
                                                                                                                                                  Land                                                                  Current value of
                                                                                                                                                                                               Current value of
                                                                                          City, State, ZIP Code                                   Investment property                                                   the portion you
                                                                                                                                                                                             the entire property?
                                                                                                                                                  Timeshare                                                                  own?
                                                                                          N/A                                                     Other
                                                                                          County                                                   Various Rental Properties                                  0.00                     0.00
                                                                                                                                               Who has an interest in the property? Check
                                                                                                                                                   one
                                                                                                                                                   Debtor 1 only                             Describe the nature of your ownership interest
                                                                                                                                                   Debtor 2 only                             (such as fee simple, tenancy by the entireties, or
                                                                                                                                                   Debtor 1 and Debtor 2 only                a life estate), if known.
                                                                                                                                                   At least one of the debtors and another
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                                                                                                                                               Other information you wish to add about
                                                                                                                                               this item, such as local property                  Check if this is community property
                                                                                                                                               identification number:                             (see instructions)

                                                                                    1.11 Various Rental Properties                             What is the property? Check all that apply    Do not deduct secured claims or exemptions.
                                                                                          Street address, if available, or other description      Single-family home                         Put the amount of any secured claims on
                                                                                                                                                  Duplex or multi-unit building              Schedule D: Creditors Who Have Claims
                                                                                          See Note                                                Condominium or cooperative                 Secured by Property.
                                                                                                                                                  Manufactured or mobile home
                                                                                                                                                  Land                                                                  Current value of
                                                                                                                                                                                               Current value of
                                                                                          City, State, ZIP Code                                   Investment property                                                   the portion you
                                                                                                                                                                                             the entire property?
                                                                                                                                                  Timeshare                                                                  own?
                                                                                          N/A                                                     Other
                                                                                          County                                                   Various Rental Properties                                  0.00                     0.00
                                                                                                                                               Who has an interest in the property? Check
                                                                                                                                                   one
                                                                                                                                                   Debtor 1 only                             Describe the nature of your ownership interest
                                                                                                                                                   Debtor 2 only                             (such as fee simple, tenancy by the entireties, or
                                                                                                                                                   Debtor 1 and Debtor 2 only                a life estate), if known.
                                                                                                                                                   At least one of the debtors and another

                                                                                                                                               Other information you wish to add about
                                                                                                                                               this item, such as local property                  Check if this is community property
                                                                                                                                               identification number:                             (see instructions)

                                                                               2.   Add the dollar value of the portion you own for all of your entries from Part 1, including any
                                                                                                                                                                                                                            $1,414,100.00
                                                                                    entries for pages you have attached for Part 1. Write that number here. ...........................................


                                                                                Part 2:            Describe Your Vehicles
                                                                               Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any
                                                                               vehicles you own that someone else drives. If you lease a vehicle, also report it onSchedule G: Executory Contracts and Unexpired
                                                                               Leases.


                                                                               3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles



                                                                               Official Form 106A/B                                                      Schedule A/B: Property                                                         Page 4
                                                                                            Case 17-31052               Doc 17   Filed 01/16/18 Entered 01/16/18 14:55:32                           Desc Main
                                                                               Debtor 1    Richard M. Shove                                                                                         Case number: 3:17-bk-31052
                                                                                                                                  Document     Page 7 of 67

                                                                                          No.
                                                                                          Yes.
                                                                                    3.1 Make:       Honda                        Who has an interest in the property? Check      Do not deduct secured claims or exemptions.
                                                                                                                                 one                                             Put the amount of any secured claims on
                                                                                          Model:    Odyssey                            Debtor 1 only                             Schedule D: Creditors Who Have Claims
                                                                                                                                       Debtor 2 only                             Secured by Property.
                                                                                          Year:     2011                               Debtor 1 and Debtor 2 only
                                                                                                                                       At least one of the debtors and another                            Current value of
                                                                                                                                                                                   Current value of
                                                                                          Approximate mileage: 120275                                                                                     the portion you
                                                                                                                                                                                 the entire property?
                                                                                                                                       Check if this is community property                                     own?
                                                                                          Other information:                           (see instructions)
                                                                                                                                                                                            $8,699.00             $8,699.00


                                                                                    3.2 Make:       Chevrolet                    Who has an interest in the property? Check      Do not deduct secured claims or exemptions.
                                                                                                                                 one                                             Put the amount of any secured claims on
                                                                                          Model:    Silverado 1500                     Debtor 1 only                             Schedule D: Creditors Who Have Claims
                                                                                                                                       Debtor 2 only                             Secured by Property.
                                                                                          Year:     2004                               Debtor 1 and Debtor 2 only
                                                                                                                                       At least one of the debtors and another                            Current value of
                                                                                                                                                                                   Current value of
                                                                                          Approximate mileage: 205000                                                                                     the portion you
                                                                                                                                                                                 the entire property?
                                                                                                                                       Check if this is community property                                     own?
                                                                                          Other information: ; Individually            (see instructions)
                                                                                                                                                                                            $2,185.00             $2,185.00


                                                                                    3.3 Make:       GMC                          Who has an interest in the property? Check      Do not deduct secured claims or exemptions.
                                                                                                                                 one                                             Put the amount of any secured claims on
                                                                                          Model:    SavCut                             Debtor 1 only                             Schedule D: Creditors Who Have Claims
                                                                                                                                       Debtor 2 only                             Secured by Property.
                                                                                          Year:     1998                               Debtor 1 and Debtor 2 only
                                                                                                                                       At least one of the debtors and another                            Current value of
                                                                                                                                                                                   Current value of
                                                                                          Approximate mileage: 200000                                                                                     the portion you
                                                                                                                                                                                 the entire property?
                                                                                                                                       Check if this is community property                                     own?
                                                                                          Other information: ; inoperable              (see instructions)
                                                                                                                                                                                             $350.00                $350.00
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                                                                                    3.4 Make:       Chevy                        Who has an interest in the property? Check      Do not deduct secured claims or exemptions.
                                                                                                                                 one                                             Put the amount of any secured claims on
                                                                                          Model:    GMT K1500                          Debtor 1 only                             Schedule D: Creditors Who Have Claims
                                                                                                                                       Debtor 2 only                             Secured by Property.
                                                                                          Year:     1993                               Debtor 1 and Debtor 2 only
                                                                                                                                       At least one of the debtors and another                            Current value of
                                                                                                                                                                                   Current value of
                                                                                          Approximate mileage: 200000                                                                                     the portion you
                                                                                                                                                                                 the entire property?
                                                                                                                                       Check if this is community property                                     own?
                                                                                          Other information: ; inoperable              (see instructions)
                                                                                                                                                                                               $50.00                $50.00


                                                                                    3.5 Make:       Chevy                        Who has an interest in the property? Check      Do not deduct secured claims or exemptions.
                                                                                                                                 one                                             Put the amount of any secured claims on
                                                                                          Model:    CR3100 Bucket Truck                Debtor 1 only                             Schedule D: Creditors Who Have Claims
                                                                                                                                       Debtor 2 only                             Secured by Property.
                                                                                          Year:     1988                               Debtor 1 and Debtor 2 only
                                                                                                                                       At least one of the debtors and another                            Current value of
                                                                                                                                                                                   Current value of
                                                                                          Approximate mileage:                                                                                            the portion you
                                                                                                                                                                                 the entire property?
                                                                                                                                       Check if this is community property                                     own?
                                                                                          Other information: ; Individually            (see instructions)
                                                                                                                                                                                             $100.00                $100.00


                                                                               4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
                                                                                    Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

                                                                                          No.
                                                                                          Yes.




                                                                               Official Form 106A/B                                         Schedule A/B: Property                                                       Page 5
                                                                                             Case 17-31052                         Doc 17              Filed 01/16/18 Entered 01/16/18 14:55:32                                                        Desc Main
                                                                               Debtor 1    Richard M. Shove                                                                                                                                            Case number: 3:17-bk-31052
                                                                                                                                                        Document     Page 8 of 67

                                                                                    3.1 Make:           Bayliner                                      Who has an interest in the property? Check                          Do not deduct secured claims or exemptions.
                                                                                                                                                      one                                                                 Put the amount of any secured claims on
                                                                                          Model:        Sunbridge                                            Debtor 1 only                                                Schedule D: Creditors Who Have Claims
                                                                                                                                                             Debtor 2 only                                                Secured by Property.
                                                                                          Year:         1999                                                 Debtor 1 and Debtor 2 only
                                                                                                                                                             At least one of the debtors and another                                                        Current value of
                                                                                                                                                                                                                             Current value of
                                                                                          Other information:                                                                                                                                                the portion you
                                                                                                                                                                                                                           the entire property?
                                                                                                                                                             Check if this is community property                                                                 own?
                                                                                                                                                             (see instructions)
                                                                                                                                                                                                                                        $14,000.00                  $4,666.00


                                                                                    3.2 Make:           Sunbird                                       Who has an interest in the property? Check                          Do not deduct secured claims or exemptions.
                                                                                                                                                      one                                                                 Put the amount of any secured claims on
                                                                                          Model:        open boat                                            Debtor 1 only                                                Schedule D: Creditors Who Have Claims
                                                                                                                                                             Debtor 2 only                                                Secured by Property.
                                                                                          Year:         1991                                                 Debtor 1 and Debtor 2 only
                                                                                                                                                             At least one of the debtors and another                                                        Current value of
                                                                                                                                                                                                                             Current value of
                                                                                          Other information:                                                                                                                                                the portion you
                                                                                                                                                                                                                           the entire property?
                                                                                                                                                             Check if this is community property                                                                 own?
                                                                                                                                                             (see instructions)
                                                                                                                                                                                                                                             $250.00                  $250.00


                                                                                    3.3 Make:           Black Conti                                   Who has an interest in the property? Check                          Do not deduct secured claims or exemptions.
                                                                                                                                                      one                                                                 Put the amount of any secured claims on
                                                                                          Model:                                                             Debtor 1 only                                                Schedule D: Creditors Who Have Claims
                                                                                                                                                             Debtor 2 only                                                Secured by Property.
                                                                                          Year:         2001                                                 Debtor 1 and Debtor 2 only
                                                                                                                                                             At least one of the debtors and another                                                        Current value of
                                                                                                                                                                                                                             Current value of
                                                                                          Other information:                                                                                                                                                the portion you
                                                                                                                                                                                                                           the entire property?
                                                                                                                                                             Check if this is community property                                                                 own?
                                                                                                                                                             (see instructions)
                                                                                                                                                                                                                                             $200.00                  $200.00


                                                                               5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
                                                                                                                                                                                                                                                                  $16,500.00
                                                                                    entries for pages you have attached for Part 2. Write that number here ............................................
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                                                                                Part 3:            Describe Your Personal and Household Items
                                                                               Do you own or have any legal or equitable interest in any of the following items? (List the current value of the portion you own. Do not
                                                                               deduct secured claims or exemptions)



                                                                               6.   Household goods and furnishings
                                                                                    Examples: Major appliances, furniture, linens, china, kitchenware

                                                                                          No
                                                                                          Yes (Usual household goods, funrinture, fixtrues and furnishings for 5 bedroom home,
                                                                                             including: wallhangings, knic knacs, small electrics, washer, dryer, couch, love seat,
                                                                                             recliner, table w 6 chairs, 1 king setroom set, 2 dressers, 2 bunk bed sets, 2
                                                                                             dressers, armoire, stove, refrigerator, weights, playroom couch and chair, computer
                                                                                             desk, coffee table, hutch, household tools, plastic plants, lawnmower, snowblower, and
                                                                                             outdoor furniture. Most items in good condition and 2 years old. $12,000.00; Joint w
                                                                                             Spouse, J) ...................................................................................................................................                         $12,000.00

                                                                               7.   Electronics
                                                                                    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                                                                                    collections; electronic devices including cell phones, cameras, media players, games

                                                                                          No
                                                                                          Yes (Acer laptop 2 years old; (3) flat screen television 2 years old; 2 year old xbox, (2) 3
                                                                                             year old cell phones $675.00, J)................................................................................................                                           $675.00

                                                                               8.   Collectibles of value
                                                                                    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp,
                                                                                    coin, or baseball card collections; other collections, memorabilia, collectibles

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                       0.00




                                                                               Official Form 106A/B                                                                  Schedule A/B: Property                                                                               Page 6
                                                                                             Case 17-31052                         Doc 17              Filed 01/16/18 Entered 01/16/18 14:55:32                                                        Desc Main
                                                                               Debtor 1    Richard M. Shove                                                                                                                                            Case number: 3:17-bk-31052
                                                                                                                                                        Document     Page 9 of 67

                                                                               9.   Equipment for sports and hobbies
                                                                                    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                                                                                    and kayaks; carpentry tools; musical instruments

                                                                                          No
                                                                                          Yes (Various sporting equipment:Golf Clubs, Basketballs, soccer balls, tennis, various
                                                                                             games $400.00, J) .......................................................................................................................                                  $400.00

                                                                               10. Firearms
                                                                                    Examples: Pistols, rifles, shotguns, ammunition, and related equipment

                                                                                          No
                                                                                          Yes (Ruger .22; 45 Pistol; Shotgun; approx 10 years old $750.00, D1) .......................................                                                                  $750.00

                                                                               11. Clothes
                                                                                    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

                                                                                          No
                                                                                          Yes (Usual clothes and Shoes $400.00, D1); (Usual Clothes and Shoes $650.00, D2)..............                                                                              $1,050.00

                                                                               12. Jewelry
                                                                                    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                                                                                    gold, silver

                                                                                          No
                                                                                          Yes (Misc and Various Costume Jewerly pieces $100.00, D2); (Engagement and Wedding
                                                                                             Jewelry $575.00, D2)...................................................................................................................                                    $675.00

                                                                               13. Non-farm animals
                                                                                    Examples: Dogs, cats, birds, horses

                                                                                          No
                                                                                          Yes (2 dogs $0.00, J).........................................................................................................................                                   0.00

                                                                               14. Any other personal and household items you did not already list, including any health aids you
                                                                                   did not list
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                                                                                          No
                                                                                          Yes ......................................................................................................................................................                       0.00

                                                                               15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
                                                                                                                                                                                                                                                                  $15,550.00
                                                                                   attached for Part 3. Write that number here ...........................................................................................


                                                                                Part 4:            Describe Your Financial Assets
                                                                               Do you own or have any legal or equitable interest in any of the following? (List the current value of the portion you own. Do not deduct
                                                                               secured claims or exemptions)



                                                                               16. Cash
                                                                                    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
                                                                                    petition

                                                                                          No
                                                                                          Yes Cash $30.00 (J) ...........................................................................................................................                                $30.00

                                                                               17. Deposits of money
                                                                                    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage
                                                                                    houses, and other similar institutions. If you have multiple accounts with the same institution, list each.

                                                                                          No
                                                                                          Yes Checking Acct #1713, Berkshire Bank, Po Box 1308, Pittsfield, MA $74.26 (J)...................                                                                             $74.26

                                                                                                 Checking Acct #6134, Lee Bank, 75 Park St., Lee, MA 01238 $202.84 (J) .............................                                                                    $202.84

                                                                                                 Acct 2742, Lee Bank, 75 Park St., Lee, MA 01238 $282.63; Individually (D2)........................                                                                     $282.63

                                                                               18. Bonds, mutual funds, or publicly traded stocks
                                                                                    Examples: Bond funds, investment accounts with brokerage firms, money market accounts




                                                                               Official Form 106A/B                                                                  Schedule A/B: Property                                                                               Page 7
                                                                                             Case 17-31052                         Doc 17              Filed 01/16/18 Entered 01/16/18 14:55:32                                                        Desc Main
                                                                               Debtor 1    Richard M. Shove                                                                                                                                            Case number: 3:17-bk-31052
                                                                                                                                                        Document     Page 10 of 67

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               19. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
                                                                                   including an interest in an LLC, partnership, and joint venture

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               20. Government and corporate bonds and other negotiable and non-negotiable instruments
                                                                                   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
                                                                                   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               21. Retirement or pension accounts
                                                                                   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing
                                                                                   plans

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               22. Security deposits and prepayments
                                                                                   Your share of all unused deposits you have made so that you may continue service or use from a company.
                                                                                   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                                                                                   companies, or others

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00
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                                                                               24. Interests in an education IRA as defined in 26 U.S.C. § 530(b)(1) or under a qualified state tuition
                                                                                   plan as defined in 26 U.S.C. § 529(b)(1).

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights
                                                                                   or powers exercisable for your benefit

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
                                                                                   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               27. Licenses, franchises, and other general intangibles
                                                                                   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               28. Tax refunds owed to you
                                                                                   Give specific information about them, including whether you already filed the returns and the tax years

                                                                                          No
                                                                                          Yes Potential anticipated tax refund $5,000.00 [2017] (J) ..............................................................                                                    $5,000.00

                                                                               29. Family support
                                                                                   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                                                                                   settlement




                                                                               Official Form 106A/B                                                                  Schedule A/B: Property                                                                               Page 8
                                                                                             Case 17-31052                         Doc 17              Filed 01/16/18 Entered 01/16/18 14:55:32                                                        Desc Main
                                                                               Debtor 1    Richard M. Shove                                                                                                                                            Case number: 3:17-bk-31052
                                                                                                                                                        Document     Page 11 of 67

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               30. Other amounts someone owes you
                                                                                    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                    compensation, Social Security benefits; unpaid loans you made to someone else

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               31. Interests in insurance policies
                                                                                    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s
                                                                                    insurance. Name the insurance company of each policy and the beneficiary, and list its value

                                                                                          No
                                                                                          Yes Life Insurance Policy, #9470, John Hancock Insurance $3,027.04 (D2) ...............................                                                                     $3,027.04

                                                                               32. Any interest in property that is due you from someone who has died
                                                                                    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to
                                                                                    receive property because someone has died.

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for
                                                                                   payment
                                                                                    Examples: Accidents, employment disputes, insurance claims, or rights to sue

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor
                                                                                   and rights to set off claims

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00
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                                                                               35. Any financial assets you did not already list

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
                                                                                                                                                                                                                                                                    $8,616.77
                                                                                   attached for Part 4. Write that number here ...........................................................................................


                                                                                Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

                                                                               37. Do you own or have any legal or equitable interest in any business-related property?
                                                                                       No. Go to part 6.
                                                                                       Yes. Go to line 38.


                                                                                Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                                                                                                   If you own or have an interest in farmland, list it in Part 1.

                                                                               46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related
                                                                                   property?
                                                                                       No. Go to part 7.
                                                                                       Yes. Go to line 47.


                                                                                Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

                                                                               53. Do you have other property of any kind you did not already list?
                                                                                    Examples: Season tickets, country club membership
                                                                                          No
                                                                                          Yes .....................................................................................................................................................                       $0.00




                                                                               Official Form 106A/B                                                                  Schedule A/B: Property                                                                               Page 9
                                                                                               Case 17-31052                    Doc 17            Filed 01/16/18 Entered 01/16/18 14:55:32                                               Desc Main
                                                                               Debtor 1     Richard M. Shove                                                                                                                             Case number: 3:17-bk-31052
                                                                                                                                                   Document     Page 12 of 67

                                                                               54. Add the dollar value of all of your entries from Part 7, including any entries for pages you have
                                                                                   attached for Part 7. Write that number here ...........................................................................................                                   0.00


                                                                                Part 8:             List the Totals of Each Part of this Form

                                                                               55. Part 1: Total real estate, line 2 .................................................................................................................             $1,414,100.00

                                                                               56. Part 2: Total vehicles, line 5.............................................................................                          $16,500.00

                                                                               57. Part 3: Total personal and household items, line 15 .....................................                                            $15,550.00

                                                                               58. Part 4: Total financial assets, line 36 ..............................................................                                 $8,616.77

                                                                               59. Part 5: Total business-related property, line 45.............................................                                                  0.00

                                                                               60. Part 6: Total farm- and fishing-related property, line 52 ...............................                                                      0.00

                                                                               61. Part 7: Total other property not listed, line 54 ...............................................                                               0.00

                                                                               62. Total personal property. Add lines 56 through 61....................................................................................                               $40,666.77

                                                                               63. Total of all property on Schedule A/B. Add line 55 + line 62 ..................................................................                               $1,454,766.77
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                                                                               Official Form 106A/B                                                            Schedule A/B: Property                                                                      Page 10
                                                                                                 Case 17-31052            Doc 17      Filed 01/16/18 Entered 01/16/18 14:55:32                              Desc Main
                                                                                                                                       Document     Page 13 of 67

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Richard M. Shove

                                                                                    Debtor 2        Kathleen E. Shove
                                                                                    (Spouse, if filing)                                                                                                   Check if this is an amended
                                                                                                                                                                                                          filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number           3:17-bk-31052
                                                                                    (If known)



                                                                               Official Form 106C
                                                                               Schedule C: The Property You Claim as Exempt                                                                                                   04/16


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
                                                                               the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
                                                                               needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
                                                                               and case number (if known).

                                                                               For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
                                                                               specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
                                                                               any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
                                                                               funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
                                                                               exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
                                                                               to the applicable statutory amount.


                                                                                Part 1:              Identify the Property You Claim as Exempt

                                                                               1.     Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
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                                                                                            You are claiming MA state exemptions and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
                                                                                            You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

                                                                               2.     For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
                                                                                                                            Current value of the
                                                                                                                                                     Amount of the exemption you claim
                                                                                     Brief description of the property       portion you own
                                                                                    and line on Schedule A/B that lists                                                                         Specific laws that allow exemption
                                                                                                                                                          Check only one box for each
                                                                                               this property                Copy the value from
                                                                                                                                                                  exemption
                                                                                                                              Schedule A/B

                                                                                 5 Crystal St., Lenoxdale, MA; Deed                 $195,400.00           $2.00                                11 U.S.C. § 522(d)(1)
                                                                                 located at 1485, pg 441; Homestead                                       100% of fair market value, up to
                                                                                 in 5526, pg 148. (Line 1)                                                any applicable statutory limit

                                                                                 1988 Chev CR3100 Bucket Truck.                          $100.00          $100.00                              11 U.S.C. § 522(d)(5)
                                                                                 Burned in fire. Scrap. (Line 3)                                          100% of fair market value, up to
                                                                                                                                                          any applicable statutory limit

                                                                                 1993 Chevy GMT K1500, engine                             $50.00          $50.00                               11 U.S.C. § 522(d)(2)
                                                                                 seized, poor condition, inoperable                                       100% of fair market value, up to
                                                                                 (Line 3)                                                                 any applicable statutory limit

                                                                                 1998 GMC SavCut Box Truck, Engine                       $350.00          $350.00                              11 U.S.C. § 522(d)(5)
                                                                                 froze, does not run, inoperable (Line 3)                                 100% of fair market value, up to
                                                                                                                                                          any applicable statutory limit

                                                                                 2004 Chevy Silverado 1500 Work                        $2,185.00          $2,185.00                            11 U.S.C. § 522(d)(5)
                                                                                 Truck Pickup 2D 8 ft bed, Kbb private                                    100% of fair market value, up to
                                                                                 party good condition listed. (Line 3)                                    any applicable statutory limit

                                                                                 2011 Honda Odyssey EX Minivan 4D,                     $8,699.00          $3,775.00 + $4,924.00                11 U.S.C. § 522(d)(2) and 11 U.S.C.
                                                                                 Kbb private party good condition value                                   100% of fair market value, up to     § 522(d)(5)
                                                                                 listed. (Line 3)                                                         any applicable statutory limit




                                                                               Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                                   Page 1
                                                                                           Case 17-31052                Doc 17      Filed 01/16/18 Entered 01/16/18 14:55:32                         Desc Main
                                                                               Debtor 1   Richard M. Shove                                                                                          Case number: 3:17-bk-31052
                                                                                                                                     Document     Page 14 of 67

                                                                                                                           Current value of the
                                                                                                                                                  Amount of the exemption you claim
                                                                                  Brief description of the property         portion you own
                                                                                 and line on Schedule A/B that lists                                                                     Specific laws that allow exemption
                                                                                                                                                      Check only one box for each
                                                                                            this property                  Copy the value from
                                                                                                                                                              exemption
                                                                                                                             Schedule A/B

                                                                                1991 Open boat Fiberglass Sunbird,                     $250.00        $250.00                            11 U.S.C. § 522(d)(5)
                                                                                poor condition. Inoperable. (Line 4)                                  100% of fair market value, up to
                                                                                                                                                      any applicable statutory limit

                                                                                1999 Bayliner Sunbridge Boat, has not                $4,666.00        $1,698.00                          11 U.S.C. § 522(d)(5)
                                                                                been used in over 9 years. (Line 4)                                   100% of fair market value, up to
                                                                                                                                                      any applicable statutory limit

                                                                                2001 Black Conti Box Trailer; Trailer                  $200.00        $200.00                            11 U.S.C. § 522(d)(5)
                                                                                in accident - does not move.                                          100% of fair market value, up to
                                                                                Inoperable. (Line 4)                                                  any applicable statutory limit

                                                                                Usual household goods, funrinture,                  $12,000.00        $12,000.00                         11 U.S.C. § 522(d)(3)
                                                                                fixtrues and furnishings for 5 bedroom                                100% of fair market value, up to
                                                                                home, including: wallhangings, knic                                   any applicable statutory limit
                                                                                knacs, small electrics, washer, dryer,
                                                                                couch, love seat, recliner, table w 6
                                                                                chairs, 1 king setroom set, 2
                                                                                dressers, 2 bunk bed sets, 2 dressers,
                                                                                armoire, stove, refrigerator, weights,
                                                                                playroom couch and chair, computer
                                                                                desk, coffee table, hutch, household
                                                                                tools, plastic plants, lawnmower,
                                                                                snowblower, and outdoor furniture.
                                                                                Most items in good condition and 2
                                                                                years old. (Line 6)

                                                                                Acer laptop 2 years old; (3) flat screen               $675.00        $675.00                            11 U.S.C. § 522(d)(3)
                                                                                television 2 years old; 2 year old xbox,                              100% of fair market value, up to
                                                                                (2) 3 year old cell phones (Line 7)                                   any applicable statutory limit

                                                                                Various sporting equipment:Golf Clubs,                 $400.00        $400.00                            11 U.S.C. § 522(d)(5)
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                                                                                Basketballs, soccer balls, tennis,                                    100% of fair market value, up to
                                                                                various games (Line 9)                                                any applicable statutory limit

                                                                                Ruger .22; 45 Pistol; Shotgun; approx                  $750.00        $750.00                            11 U.S.C. § 522(d)(5)
                                                                                10 years old (Line 10)                                                100% of fair market value, up to
                                                                                                                                                      any applicable statutory limit

                                                                                Usual Clothes and Shoes (Line 11)                      $650.00        $650.00                            11 U.S.C. § 522(d)(3)
                                                                                                                                                      100% of fair market value, up to
                                                                                                                                                      any applicable statutory limit

                                                                                Usual clothes and Shoes (Line 11)                      $400.00        $400.00                            11 U.S.C. § 522(d)(3)
                                                                                                                                                      100% of fair market value, up to
                                                                                                                                                      any applicable statutory limit

                                                                                Engagement and Wedding Jewelry                         $575.00        $575.00                            11 U.S.C. § 522(d)(4)
                                                                                (Line 12)                                                             100% of fair market value, up to
                                                                                                                                                      any applicable statutory limit

                                                                                Misc and Various Costume Jewerly                       $100.00        $100.00                            11 U.S.C. § 522(d)(4)
                                                                                pieces (Line 12)                                                      100% of fair market value, up to
                                                                                                                                                      any applicable statutory limit

                                                                                Cash (Line 16)                                          $30.00        $30.00                             11 U.S.C. § 522(d)(5)
                                                                                                                                                      100% of fair market value, up to
                                                                                                                                                      any applicable statutory limit

                                                                                Acct 2742, Lee Bank, 75 Park St.,                      $282.63        $282.63                            11 U.S.C. § 522(d)(5)
                                                                                Lee, MA 01238 (Line 17)                                               100% of fair market value, up to
                                                                                                                                                      any applicable statutory limit

                                                                                Checking Acct #1713, Berkshire Bank,                    $74.26        $74.26                             11 U.S.C. § 522(d)(5)
                                                                                Po Box 1308, Pittsfield, MA (Line 17)                                 100% of fair market value, up to
                                                                                                                                                      any applicable statutory limit

                                                                                Checking Acct #6134, Lee Bank, 75                      $202.84        $202.84                            11 U.S.C. § 522(d)(5)
                                                                                Park St., Lee, MA 01238 (Line 17)                                     100% of fair market value, up to
                                                                                                                                                      any applicable statutory limit



                                                                               Official Form 106C                                 Schedule C: The Property You Claim as Exempt                                         Page 2
                                                                                              Case 17-31052               Doc 17        Filed 01/16/18 Entered 01/16/18 14:55:32                               Desc Main
                                                                               Debtor 1     Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                         Document     Page 15 of 67

                                                                                                                             Current value of the
                                                                                                                                                       Amount of the exemption you claim
                                                                                     Brief description of the property        portion you own
                                                                                    and line on Schedule A/B that lists                                                                           Specific laws that allow exemption
                                                                                                                                                            Check only one box for each
                                                                                               this property                  Copy the value from
                                                                                                                                                                    exemption
                                                                                                                                Schedule A/B

                                                                                Potential anticipated tax refund (Line                   $5,000.00          $5,000.00                             11 U.S.C. § 522(d)(5)
                                                                                28)                                                                         100% of fair market value, up to
                                                                                                                                                            any applicable statutory limit

                                                                                Life Insurance Policy, #9470, John                       $3,027.04          $3,027.04                             11 U.S.C. § 522(d)(8)
                                                                                Hancock Insurance (Line 31)                                                 100% of fair market value, up to
                                                                                                                                                            any applicable statutory limit

                                                                                                                    Total              $236,066.77                                 $37,700.77

                                                                               3.     Are you claiming a homestead exemption of more than $160,375.00?
                                                                                      (Subject to adjustment on 04/01/2019 and every 3 years after that for cases filed on or after the date of adjustment.)
                                                                                           No
                                                                                           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                                                                                                No
                                                                                                Yes
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                                                                               Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                 Page 3
                                                                                                   Case 17-31052               Doc 17           Filed 01/16/18 Entered 01/16/18 14:55:32                                                 Desc Main
                                                                                                                                                 Document     Page 16 of 67

                                                                                     Fill in this information to identify your case:

                                                                                     Debtor 1          Richard M. Shove

                                                                                     Debtor 2          Kathleen E. Shove
                                                                                     (Spouse, if filing)                                                                                                                               Check if this is an amended
                                                                                                                                                                                                                                       filing
                                                                                     United States Bankruptcy Court for the District of Massachusetts

                                                                                     Case number           3:17-bk-31052
                                                                                     (If known)



                                                                               Official Form 106D
                                                                               Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
                                                                               additional pages, write your name and case number (if known).

                                                                               1.      Do any creditors have claims secured by your property?
                                                                                           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
                                                                                           Yes. Fill in all of the information below.


                                                                                Part 1:                List All Secured Claims
                                                                               2.      List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each claim. If more than one creditor has a
                                                                                       particular claim, list the other creditors in Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name.

                                                                                                                                                                                                     Column A                    Column B             Column C
                                                                                                                                                                                                   Amount of claim          Value of collateral   Unsecured portion
                                                                                                                                                                                                  Do not deduct the value   that supports this          if any
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                                                                                                                                                                                                      of the collateral           claim

                                                                               2.1                                                  Describe the property that secures the claim:                         $11,334.39                     $0.00           $11,334.39
                                                                               Cach LLC                                                  Rental Properties owned already
                                                                               Creditor's Name                                           Individually listed. Deed References
                                                                               4340 S. Monaco                                            in Berkshire Middle Registry of
                                                                               Number Street                                             Deeds:: Book 1528, Page 404; Book 2814
                                                                               2nd Floor                                                 Page 58; Book 3435, Page 134; Book
                                                                                                                                         1561, Page 221. Property listed for
                                                                               Denver CO 80237                                           Lien attachment puposes
                                                                               City, State, ZIP Code
                                                                               Who owes the debt? Check one.                        As of the date you file, the claim is: Check all that apply
                                                                                   Debtor 1 only                                          Contingent
                                                                                   Debtor 2 only                                          Unliquidated
                                                                                   Debtor 1 and Debtor 2 only                             Disputed
                                                                                   At least one of the debtors and another
                                                                                                                                    Nature of lien. Check all that apply
                                                                                       Check if this claim relates to a community        An agreement you made (such as
                                                                                       debt                                              mortgage or secured car loan)
                                                                                                                                         Statutory lien (such as tax lien, mechanic’s
                                                                               Date debt was incurred: 04/30/2015                        lien)
                                                                                                                                         Judgment lien from a lawsuit
                                                                                                                                         Other (including a right to offset)

                                                                                                                                    Last 4 digits of account number: -0008




                                                                               Official Form 106D                                   Schedule D: Creditors Who Have Claims Secured by Property                                                                    Page 1
                                                                                                   Case 17-31052               Doc 17           Filed 01/16/18 Entered 01/16/18 14:55:32                                                 Desc Main
                                                                               Debtor 1          Richard M. Shove                                                                                                                        Case number: 3:17-bk-31052
                                                                                                                                                 Document     Page 17 of 67

                                                                                                                                                                                                     Column A                    Column B             Column C
                                                                                                                                                                                                   Amount of claim          Value of collateral   Unsecured portion
                                                                                                                                                                                                  Do not deduct the value   that supports this          if any
                                                                                                                                                                                                      of the collateral           claim

                                                                               2.2                                                  Describe the property that secures the claim:                                 $1.00          $195,400.00                     $1.00
                                                                               CACH LLC,                                                 5 Crystal St., Lenoxdale, MA; Deed
                                                                               Creditor's Name                                           located at 1485, pg 441; Homestead in
                                                                               4340 South Monaco Sr.                                     5526, pg 148.
                                                                               Number Street
                                                                               2nd Fl.                                              As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                               Denver CO 80237                                            Unliquidated
                                                                               City, State, ZIP Code                                      Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                    Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                         An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                            mortgage or secured car loan)
                                                                                   At least one of the debtors and another               Statutory lien (such as tax lien, mechanic’s
                                                                                                                                         lien)
                                                                                       Check if this claim relates to a community        Judgment lien from a lawsuit
                                                                                       debt                                              Other (including a right to offset)

                                                                               Date debt was incurred: 04/30/2015                   Last 4 digits of account number: -0008


                                                                               2.3                                                  Describe the property that secures the claim:                        $100,156.00             $212,100.00                      0.00
                                                                               Chase Mtg                                                 8 Crystal St, Lenox Dale, MA; 2 family;
                                                                               Creditor's Name                                           Deed in Berkshire Middle
                                                                               10790 Rancho Bernardo Rd
                                                                               Number Street                                        As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                                                                                          Unliquidated
                                                                               San Diego CA 92127                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who owes the debt? Check one.                        Nature of lien. Check all that apply
                                                                                   Debtor 1 only                                         An agreement you made (such as
                                                                                   Debtor 2 only                                         mortgage or secured car loan)
                                                                                   Debtor 1 and Debtor 2 only                            Statutory lien (such as tax lien, mechanic’s
                                                                                   At least one of the debtors and another               lien)
                                                                                                                                         Judgment lien from a lawsuit
                                                                                       Check if this claim relates to a community        Other (including a right to offset)
                                                                                       debt
                                                                                                                                    Last 4 digits of account number: -4423
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                                                                               Date debt was incurred: 10/2004

                                                                               2.4                                                  Describe the property that secures the claim:                        $117,970.00             $151,600.00                      0.00
                                                                               Ditech Financial Llc                                      30 Chestnut St., Lee, MA, Single
                                                                               Creditor's Name                                           Family; Deed in Berkshire Middle 4006,
                                                                               Bankruptcy Dept                                           Page 237.
                                                                               Number Street
                                                                               Po Box 6154                                          As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                               Rapid City SD 57709                                        Unliquidated
                                                                               City, State, ZIP Code                                      Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                    Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                         An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                            mortgage or secured car loan)
                                                                                   At least one of the debtors and another               Statutory lien (such as tax lien, mechanic’s
                                                                                                                                         lien)
                                                                                       Check if this claim relates to a community        Judgment lien from a lawsuit
                                                                                       debt                                              Other (including a right to offset)

                                                                               Date debt was incurred: 03/2008                      Last 4 digits of account number: -8169


                                                                               2.5                                                  Describe the property that secures the claim:                        $129,441.00             $196,600.00                      0.00
                                                                               Ditech Financial Llc                                      7 Crystal St., LenoxDale, MA; 2 family;
                                                                               Creditor's Name                                           Deed in Berkshire Middle in Book 1528,
                                                                               Bankruptcy Dept                                           Page 404
                                                                               Number Street
                                                                               Po Box 6154                                          As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                               Rapid City SD 57709                                        Unliquidated
                                                                               City, State, ZIP Code                                      Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                    Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                         An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                            mortgage or secured car loan)
                                                                                   At least one of the debtors and another               Statutory lien (such as tax lien, mechanic’s
                                                                                                                                         lien)
                                                                                       Check if this claim relates to a community        Judgment lien from a lawsuit
                                                                                       debt                                              Other (including a right to offset)

                                                                               Date debt was incurred: 02/2006                      Last 4 digits of account number: -6340




                                                                               Official Form 106D                                   Schedule D: Creditors Who Have Claims Secured by Property                                                                    Page 2
                                                                                                   Case 17-31052               Doc 17           Filed 01/16/18 Entered 01/16/18 14:55:32                                                 Desc Main
                                                                               Debtor 1          Richard M. Shove                                                                                                                        Case number: 3:17-bk-31052
                                                                                                                                                 Document     Page 18 of 67

                                                                                                                                                                                                     Column A                    Column B             Column C
                                                                                                                                                                                                   Amount of claim          Value of collateral   Unsecured portion
                                                                                                                                                                                                  Do not deduct the value   that supports this          if any
                                                                                                                                                                                                      of the collateral           claim

                                                                               2.6                                                  Describe the property that secures the claim:                         $51,290.00               $80,000.00                     0.00
                                                                               Fayfinancial                                              32-36 Adams St., Pittsfield, MA; 4
                                                                               Creditor's Name                                           Family; Deed located in Berkshire
                                                                               939 W North Ave                                           Middle 6105/345.
                                                                               Number Street
                                                                                                                                    As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                               Chicago IL 60642                                           Unliquidated
                                                                               City, State, ZIP Code                                      Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                    Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                         An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                            mortgage or secured car loan)
                                                                                   At least one of the debtors and another               Statutory lien (such as tax lien, mechanic’s
                                                                                                                                         lien)
                                                                                       Check if this claim relates to a community        Judgment lien from a lawsuit
                                                                                       debt                                              Other (including a right to offset)

                                                                               Date debt was incurred: 08/09/1996                   Last 4 digits of account number: -0838


                                                                               2.7                                                  Describe the property that secures the claim:                         $28,710.00               $80,000.00                     0.00
                                                                               Jose R. Hernandez                                         32-36 Adams St., Pittsfield, MA; 4
                                                                               Creditor's Name                                           Family; Deed located in Berkshire
                                                                               Po Box 984                                                Middle 6105/345.
                                                                               Number Street
                                                                                                                                    As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                               Pittsfield MA 01201                                        Unliquidated
                                                                               City, State, ZIP Code                                      Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                    Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                         An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                            mortgage or secured car loan)
                                                                                   At least one of the debtors and another               Statutory lien (such as tax lien, mechanic’s
                                                                                                                                         lien)
                                                                                       Check if this claim relates to a community        Judgment lien from a lawsuit
                                                                                       debt                                              Other (including a right to offset)
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                                                                               Date debt was incurred: 2015                         Last 4 digits of account number:


                                                                               2.8                                                  Describe the property that secures the claim:                         $33,275.00             $195,400.00                      0.00
                                                                               Jose R. Hernandez                                         5 Crystal St., Lenoxdale, MA; Deed
                                                                               Creditor's Name                                           located at 1485, pg 441; Homestead in
                                                                               Po Box 984                                                5526, pg 148.
                                                                               Number Street
                                                                                                                                    As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                               Pittsfield MA 01201                                        Unliquidated
                                                                               City, State, ZIP Code                                      Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                    Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                         An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                            mortgage or secured car loan)
                                                                                   At least one of the debtors and another               Statutory lien (such as tax lien, mechanic’s
                                                                                                                                         lien)
                                                                                       Check if this claim relates to a community        Judgment lien from a lawsuit
                                                                                       debt                                              Other (including a right to offset)

                                                                               Date debt was incurred: 2015                         Last 4 digits of account number:


                                                                               2.9                                                  Describe the property that secures the claim:                         $33,597.00               $77,700.00                     0.00
                                                                               Jose R. Hernandez                                         51-53 Orchard St., Pittsfield, MA; 4
                                                                               Creditor's Name                                           family; Deed in Berkshire Middle in
                                                                               Po Box 984                                                Book 1547, Page 780;
                                                                               Number Street
                                                                                                                                    As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                               Pittsfield MA 01201                                        Unliquidated
                                                                               City, State, ZIP Code                                      Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                    Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                         An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                            mortgage or secured car loan)
                                                                                   At least one of the debtors and another               Statutory lien (such as tax lien, mechanic’s
                                                                                                                                         lien)
                                                                                       Check if this claim relates to a community        Judgment lien from a lawsuit
                                                                                       debt                                              Other (including a right to offset)

                                                                               Date debt was incurred: 2015                         Last 4 digits of account number:




                                                                               Official Form 106D                                   Schedule D: Creditors Who Have Claims Secured by Property                                                                    Page 3
                                                                                                   Case 17-31052               Doc 17           Filed 01/16/18 Entered 01/16/18 14:55:32                                                 Desc Main
                                                                               Debtor 1          Richard M. Shove                                                                                                                        Case number: 3:17-bk-31052
                                                                                                                                                 Document     Page 19 of 67

                                                                                                                                                                                                     Column A                    Column B             Column C
                                                                                                                                                                                                   Amount of claim          Value of collateral   Unsecured portion
                                                                                                                                                                                                  Do not deduct the value   that supports this          if any
                                                                                                                                                                                                      of the collateral           claim

                                                                               2.10                                                 Describe the property that secures the claim:                         $33,630.00             $151,600.00                      0.00
                                                                               Jose R. Hernandez                                         30 Chestnut St., Lee, MA, Single
                                                                               Creditor's Name                                           Family; Deed in Berkshire Middle 4006,
                                                                               Po Box 984                                                Page 237.
                                                                               Number Street
                                                                                                                                    As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                               Pittsfield MA 01201                                        Unliquidated
                                                                               City, State, ZIP Code                                      Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                    Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                         An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                            mortgage or secured car loan)
                                                                                   At least one of the debtors and another               Statutory lien (such as tax lien, mechanic’s
                                                                                                                                         lien)
                                                                                       Check if this claim relates to a community        Judgment lien from a lawsuit
                                                                                       debt                                              Other (including a right to offset)

                                                                               Date debt was incurred: 2015                         Last 4 digits of account number:


                                                                               2.11                                                 Describe the property that secures the claim:                         $31,117.00             $168,300.00                      0.00
                                                                               Jose R. Hernandez                                         524 Walker St., Pittsfield; Deed located
                                                                               Creditor's Name                                           in book 3423, Page 159. Property in
                                                                               Po Box 984                                                Receivership. Order in Book 6051/49.
                                                                               Number Street
                                                                                                                                    As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                               Pittsfield MA 01201                                        Unliquidated
                                                                               City, State, ZIP Code                                      Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                    Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                         An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                            mortgage or secured car loan)
                                                                                   At least one of the debtors and another               Statutory lien (such as tax lien, mechanic’s
                                                                                                                                         lien)
                                                                                       Check if this claim relates to a community        Judgment lien from a lawsuit
                                                                                       debt                                              Other (including a right to offset)
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                                                                               Date debt was incurred: 2015                         Last 4 digits of account number:


                                                                               2.12                                                 Describe the property that secures the claim:                        $430,000.00                     $0.00          $430,000.00
                                                                               Jose R. Hernandez                                         Rental Properties owned already
                                                                               Creditor's Name                                           Individually listed. Deed References
                                                                               Po Box 984                                                in Berkshire Middle Registry of
                                                                               Number Street                                             Deeds:: Book 1528, Page 404; Book
                                                                                                                                         2814, Page 58; Book 3435, Page 134;
                                                                                                                                         Book 4006, Page 237; Book 1547, Page
                                                                               Pittsfield MA 01201                                       780; Book 1561, Page 221; Book 3423,
                                                                               City, State, ZIP Code                                     Page 159. Property listed for Lien
                                                                               Who owes the debt? Check one.                             attachment puposes
                                                                                   Debtor 1 only
                                                                                   Debtor 2 only                                    As of the date you file, the claim is: Check all that apply
                                                                                   Debtor 1 and Debtor 2 only                             Contingent
                                                                                   At least one of the debtors and another                Unliquidated
                                                                                                                                          Disputed
                                                                                       Check if this claim relates to a community
                                                                                       debt                                         Nature of lien. Check all that apply
                                                                                                                                         An agreement you made (such as
                                                                               Date debt was incurred: 2015                              mortgage or secured car loan)
                                                                                                                                         Statutory lien (such as tax lien, mechanic’s
                                                                                                                                         lien)
                                                                                                                                         Judgment lien from a lawsuit
                                                                                                                                         Other (including a right to offset)

                                                                                                                                    Last 4 digits of account number: -0150




                                                                               Official Form 106D                                   Schedule D: Creditors Who Have Claims Secured by Property                                                                    Page 4
                                                                                                   Case 17-31052               Doc 17           Filed 01/16/18 Entered 01/16/18 14:55:32                                                 Desc Main
                                                                               Debtor 1          Richard M. Shove                                                                                                                        Case number: 3:17-bk-31052
                                                                                                                                                 Document     Page 20 of 67

                                                                                                                                                                                                     Column A                    Column B             Column C
                                                                                                                                                                                                   Amount of claim          Value of collateral   Unsecured portion
                                                                                                                                                                                                  Do not deduct the value   that supports this          if any
                                                                                                                                                                                                      of the collateral           claim

                                                                               2.13                                                 Describe the property that secures the claim:                         $47,148.00             $177,000.00                      0.00
                                                                               Jose R. Hernandez                                         10 Crystal St, LenoxDale, MA; 3 family;
                                                                               Creditor's Name                                           Deed Located in Berkshire Middle 2814,
                                                                               Po Box 984                                                Page 58.
                                                                               Number Street
                                                                                                                                    As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                               Pittsfield MA 01201                                        Unliquidated
                                                                               City, State, ZIP Code                                      Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                    Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                         An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                            mortgage or secured car loan)
                                                                                   At least one of the debtors and another               Statutory lien (such as tax lien, mechanic’s
                                                                                                                                         lien)
                                                                                       Check if this claim relates to a community        Judgment lien from a lawsuit
                                                                                       debt                                              Other (including a right to offset)

                                                                               Date debt was incurred: 2015                         Last 4 digits of account number:


                                                                               2.14                                                 Describe the property that secures the claim:                        $111,944.00             $212,100.00                      0.00
                                                                               Jose R. Hernandez                                         8 Crystal St, Lenox Dale, MA; 2 family;
                                                                               Creditor's Name                                           Deed in Berkshire Middle
                                                                               Po Box 984
                                                                               Number Street                                        As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                                                                                          Unliquidated
                                                                               Pittsfield MA 01201                                        Disputed
                                                                               City, State, ZIP Code
                                                                               Who owes the debt? Check one.                        Nature of lien. Check all that apply
                                                                                   Debtor 1 only                                         An agreement you made (such as
                                                                                   Debtor 2 only                                         mortgage or secured car loan)
                                                                                   Debtor 1 and Debtor 2 only                            Statutory lien (such as tax lien, mechanic’s
                                                                                   At least one of the debtors and another               lien)
                                                                                                                                         Judgment lien from a lawsuit
                                                                                       Check if this claim relates to a community        Other (including a right to offset)
                                                                                       debt
                                                                                                                                    Last 4 digits of account number:
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                                                                               Date debt was incurred: 2015

                                                                               2.15                                                 Describe the property that secures the claim:                           $2,968.00              $14,000.00                     0.00
                                                                               Keybank, Na                                               1999 Bayliner Sunbridge Boat, has not
                                                                               Creditor's Name                                           been used in over 9 years.
                                                                               PO Box 5788
                                                                               Number Street                                        As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                                                                                          Unliquidated
                                                                               Cleveland OH 44101                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who owes the debt? Check one.                        Nature of lien. Check all that apply
                                                                                   Debtor 1 only                                         An agreement you made (such as
                                                                                   Debtor 2 only                                         mortgage or secured car loan)
                                                                                   Debtor 1 and Debtor 2 only                            Statutory lien (such as tax lien, mechanic’s
                                                                                   At least one of the debtors and another               lien)
                                                                                                                                         Judgment lien from a lawsuit
                                                                                       Check if this claim relates to a community        Other (including a right to offset)
                                                                                       debt
                                                                                                                                    Last 4 digits of account number: -5716
                                                                               Date debt was incurred: 07/2003

                                                                               2.16                                                 Describe the property that secures the claim:                        $136,112.00             $155,400.00                      0.00
                                                                               Nationstar Mortgage LLC                                   12 Crystal St., LenoxDale, MA; 2
                                                                               Creditor's Name                                           Family, Deed in Berkshire Middle Book
                                                                               PO Box 619096                                             3435, Page 134.
                                                                               Number Street
                                                                                                                                    As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                               Dallas TX 75261-9741                                       Unliquidated
                                                                               City, State, ZIP Code                                      Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                    Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                         An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                            mortgage or secured car loan)
                                                                                   At least one of the debtors and another               Statutory lien (such as tax lien, mechanic’s
                                                                                                                                         lien)
                                                                                       Check if this claim relates to a community        Judgment lien from a lawsuit
                                                                                       debt                                              Other (including a right to offset)

                                                                               Date debt was incurred: 01/2006                      Last 4 digits of account number: -0633




                                                                               Official Form 106D                                   Schedule D: Creditors Who Have Claims Secured by Property                                                                    Page 5
                                                                                                   Case 17-31052               Doc 17           Filed 01/16/18 Entered 01/16/18 14:55:32                                                 Desc Main
                                                                               Debtor 1          Richard M. Shove                                                                                                                        Case number: 3:17-bk-31052
                                                                                                                                                 Document     Page 21 of 67

                                                                                                                                                                                                     Column A                    Column B             Column C
                                                                                                                                                                                                   Amount of claim          Value of collateral   Unsecured portion
                                                                                                                                                                                                  Do not deduct the value   that supports this          if any
                                                                                                                                                                                                      of the collateral           claim

                                                                               2.17                                                 Describe the property that secures the claim:                        $137,183.00             $168,300.00                      0.00
                                                                               Nationstar Mortgage LLC                                   524 Walker St., Pittsfield; Deed located
                                                                               Creditor's Name                                           in book 3423, Page 159. Property in
                                                                               PO Box 619096                                             Receivership. Order in Book 6051/49.
                                                                               Number Street
                                                                                                                                    As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                               Dallas TX 75261-9741                                       Unliquidated
                                                                               City, State, ZIP Code                                      Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                    Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                         An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                            mortgage or secured car loan)
                                                                                   At least one of the debtors and another               Statutory lien (such as tax lien, mechanic’s
                                                                                                                                         lien)
                                                                                       Check if this claim relates to a community        Judgment lien from a lawsuit
                                                                                       debt                                              Other (including a right to offset)

                                                                               Date debt was incurred: 11/2005                      Last 4 digits of account number: -9136


                                                                               2.18                                                 Describe the property that secures the claim:                        $162,125.00             $195,400.00                      0.00
                                                                               Nationstar Mortgage LLC                                   5 Crystal St., Lenoxdale, MA; Deed
                                                                               Creditor's Name                                           located at 1485, pg 441; Homestead in
                                                                               PO Box 619096                                             5526, pg 148.
                                                                               Number Street
                                                                                                                                    As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                               Dallas TX 75261-9741                                       Unliquidated
                                                                               City, State, ZIP Code                                      Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                    Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                         An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                            mortgage or secured car loan)
                                                                                   At least one of the debtors and another               Statutory lien (such as tax lien, mechanic’s
                                                                                                                                         lien)
                                                                                       Check if this claim relates to a community        Judgment lien from a lawsuit
                                                                                       debt                                              Other (including a right to offset)
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                                                                               Date debt was incurred: 01/2006                      Last 4 digits of account number: -0632


                                                                               2.19                                                 Describe the property that secures the claim:                         $44,103.00               $77,700.00                     0.00
                                                                               Ocwen Loan Servicing, LLC                                 51-53 Orchard St., Pittsfield, MA; 4
                                                                               Creditor's Name                                           family; Deed in Berkshire Middle in
                                                                               1661 Worthington Road                                     Book 1547, Page 780;
                                                                               Number Street
                                                                                                                                    As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                               W. Palm Beach FL 33409                                     Unliquidated
                                                                               City, State, ZIP Code                                      Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                    Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                         An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                            mortgage or secured car loan)
                                                                                   At least one of the debtors and another               Statutory lien (such as tax lien, mechanic’s
                                                                                                                                         lien)
                                                                                       Check if this claim relates to a community        Judgment lien from a lawsuit
                                                                                       debt                                              Other (including a right to offset)

                                                                               Date debt was incurred: 02/1998                      Last 4 digits of account number: -4158


                                                                               2.20                                                 Describe the property that secures the claim:                         $64,852.00             $177,000.00                      0.00
                                                                               Ocwen Loan Servicing, LLC                                 10 Crystal St, LenoxDale, MA; 3 family;
                                                                               Creditor's Name                                           Deed Located in Berkshire Middle 2814,
                                                                               1661 Worthington Road                                     Page 58.
                                                                               Number Street
                                                                                                                                    As of the date you file, the claim is: Check all that apply
                                                                                                                                          Contingent
                                                                               W. Palm Beach FL 33409                                     Unliquidated
                                                                               City, State, ZIP Code                                      Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                    Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                         An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                            mortgage or secured car loan)
                                                                                   At least one of the debtors and another               Statutory lien (such as tax lien, mechanic’s
                                                                                                                                         lien)
                                                                                       Check if this claim relates to a community        Judgment lien from a lawsuit
                                                                                       debt                                              Other (including a right to offset)

                                                                               Date debt was incurred: 12/2003                      Last 4 digits of account number: -1794




                                                                               Official Form 106D                                   Schedule D: Creditors Who Have Claims Secured by Property                                                                    Page 6
                                                                                                   Case 17-31052                    Doc 17             Filed 01/16/18 Entered 01/16/18 14:55:32                                                 Desc Main
                                                                               Debtor 1          Richard M. Shove                                                                                                                               Case number: 3:17-bk-31052
                                                                                                                                                        Document     Page 22 of 67

                                                                                                                                                                                                            Column A                    Column B             Column C
                                                                                                                                                                                                          Amount of claim          Value of collateral   Unsecured portion
                                                                                                                                                                                                         Do not deduct the value   that supports this          if any
                                                                                                                                                                                                             of the collateral           claim

                                                                               2.21                                                        Describe the property that secures the claim:                         $65,000.00             $177,000.00                      0.00
                                                                               Thomas McDowell                                                  10 Crystal St, LenoxDale, MA; 3 family;
                                                                               Creditor's Name                                                  Deed Located in Berkshire Middle 2814,
                                                                               c/o Peggy Hunter                                                 Page 58.
                                                                               Number Street
                                                                               2687 Carrington N.                                          As of the date you file, the claim is: Check all that apply
                                                                                                                                                 Contingent
                                                                               North Canton OH 44720                                             Unliquidated
                                                                               City, State, ZIP Code                                             Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                           Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                                An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                                   mortgage or secured car loan)
                                                                                   At least one of the debtors and another                      Statutory lien (such as tax lien, mechanic’s
                                                                                                                                                lien)
                                                                                       Check if this claim relates to a community               Judgment lien from a lawsuit
                                                                                       debt                                                     Other (including a right to offset)

                                                                               Date debt was incurred: 1996                                Last 4 digits of account number:


                                                                               2.22                                                        Describe the property that secures the claim:                         $70,000.00             $196,600.00               $2,841.00
                                                                               Thomas McDowell                                                  7 Crystal St., LenoxDale, MA; 2 family;
                                                                               Creditor's Name                                                  Deed in Berkshire Middle in Book 1528,
                                                                               c/o Peggy Hunter                                                 Page 404
                                                                               Number Street
                                                                               2687 Carrington N.                                          As of the date you file, the claim is: Check all that apply
                                                                                                                                                 Contingent
                                                                               North Canton OH 44720                                             Unliquidated
                                                                               City, State, ZIP Code                                             Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                           Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                                An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                                   mortgage or secured car loan)
                                                                                   At least one of the debtors and another                      Statutory lien (such as tax lien, mechanic’s
                                                                                                                                                lien)
                                                                                       Check if this claim relates to a community               Judgment lien from a lawsuit
                                                                                       debt                                                     Other (including a right to offset)
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                                                                               Date debt was incurred: 1996                                Last 4 digits of account number:


                                                                               2.23                                                        Describe the property that secures the claim:                         $50,000.00             $155,400.00             $30,712.00
                                                                               Thomas McDowell                                                  12 Crystal St., LenoxDale, MA; 2
                                                                               Creditor's Name                                                  Family, Deed in Berkshire Middle Book
                                                                               c/o Peggy Hunter                                                 3435, Page 134.
                                                                               Number Street
                                                                               2687 Carrington N.                                          As of the date you file, the claim is: Check all that apply
                                                                                                                                                 Contingent
                                                                               North Canton OH 44720                                             Unliquidated
                                                                               City, State, ZIP Code                                             Disputed
                                                                               Who owes the debt? Check one.
                                                                                   Debtor 1 only                                           Nature of lien. Check all that apply
                                                                                   Debtor 2 only                                                An agreement you made (such as
                                                                                   Debtor 1 and Debtor 2 only                                   mortgage or secured car loan)
                                                                                   At least one of the debtors and another                      Statutory lien (such as tax lien, mechanic’s
                                                                                                                                                lien)
                                                                                       Check if this claim relates to a community               Judgment lien from a lawsuit
                                                                                       debt                                                     Other (including a right to offset)

                                                                               Date debt was incurred: 1996                                Last 4 digits of account number:

                                                                               Add the dollar value of your entries in Column A. Write that number here: .............................................    $1,891,956.39


                                                                                Part 2:                List Others to Be Notified for a Debt That You Already Listed
                                                                                Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a
                                                                                collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection
                                                                                agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here.
                                                                                If you do not have additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




                                                                               Official Form 106D                                          Schedule D: Creditors Who Have Claims Secured by Property                                                                    Page 7
                                                                                                 Case 17-31052   Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                            Desc Main
                                                                               Debtor 1      Richard M. Shove                                                                                  Case number: 3:17-bk-31052
                                                                                                                            Document     Page 23 of 67

                                                                               1                                                               On which line in Part 1 did you enter the creditor? 2.1
                                                                               J.A. Cambece Law Office. P.C.
                                                                               Creditor's Name                                                 Last 4 digits of account number:
                                                                               200 Cummings Center
                                                                               Number Street
                                                                               Suite 173D

                                                                               Beverly MA 01915
                                                                               City, State, ZIP Code



                                                                               2                                                               On which line in Part 1 did you enter the creditor? 2.3
                                                                               Chase Mtg
                                                                               Creditor's Name                                                 Last 4 digits of account number:
                                                                               P.O. Box 24696
                                                                               Number Street



                                                                               Columbus OH 43224
                                                                               City, State, ZIP Code



                                                                               3                                                               On which line in Part 1 did you enter the creditor? 2.4
                                                                               Ditech
                                                                               Creditor's Name                                                 Last 4 digits of account number:
                                                                               Attn: Bankruptcy
                                                                               Number Street
                                                                               P.O. Box 6172

                                                                               Rapid City SD 57709
                                                                               City, State, ZIP Code



                                                                               4                                                               On which line in Part 1 did you enter the creditor? 2.5
                                                                               Ditech
                                                                               Creditor's Name                                                 Last 4 digits of account number:
                                                                               Attn: Bankruptcy
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                                                                               Number Street
                                                                               P.O. Box 6172

                                                                               Rapid City SD 57709
                                                                               City, State, ZIP Code



                                                                               5                                                               On which line in Part 1 did you enter the creditor? 2.12
                                                                               Hashim & Spinola
                                                                               Creditor's Name                                                 Last 4 digits of account number:
                                                                               82 Wendell Ave
                                                                               Number Street



                                                                               Pittsfield MA 01201
                                                                               City, State, ZIP Code



                                                                               6                                                               On which line in Part 1 did you enter the creditor? 2.15
                                                                               Keybank Na
                                                                               Creditor's Name                                                 Last 4 digits of account number:
                                                                               4910 Tiedman Road
                                                                               Number Street



                                                                               Brooklyn OH 44144
                                                                               City, State, ZIP Code




                                                                               Official Form 106D                  Schedule D: Creditors Who Have Claims Secured by Property                                      Page 8
                                                                                                 Case 17-31052   Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                            Desc Main
                                                                               Debtor 1      Richard M. Shove                                                                                  Case number: 3:17-bk-31052
                                                                                                                            Document     Page 24 of 67

                                                                               7                                                               On which line in Part 1 did you enter the creditor? 2.16
                                                                               Nationstar Mortgage Llc
                                                                               Creditor's Name                                                 Last 4 digits of account number:
                                                                               Attn: Bankruptcy
                                                                               Number Street
                                                                               8950 Cypress Waters Blvd

                                                                               Coppell TX 75019
                                                                               City, State, ZIP Code



                                                                               8                                                               On which line in Part 1 did you enter the creditor? 2.17
                                                                               Nationstar Mortgage Llc
                                                                               Creditor's Name                                                 Last 4 digits of account number:
                                                                               Attn: Bankruptcy
                                                                               Number Street
                                                                               8950 Cypress Waters Blvd

                                                                               Coppell TX 75019
                                                                               City, State, ZIP Code



                                                                               9                                                               On which line in Part 1 did you enter the creditor? 2.18
                                                                               Nationstar Mortgage Llc
                                                                               Creditor's Name                                                 Last 4 digits of account number:
                                                                               Attn: Bankruptcy
                                                                               Number Street
                                                                               8950 Cypress Waters Blvd

                                                                               Coppell TX 75019
                                                                               City, State, ZIP Code



                                                                               10                                                              On which line in Part 1 did you enter the creditor? 2.19
                                                                               Ocwen Loan Servicing, Llc
                                                                               Creditor's Name                                                 Last 4 digits of account number:
                                                                               Attn: Research/Bankruptcy
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                                                                               Number Street
                                                                               1661 Worthington Rd Ste 100

                                                                               West Palm Bch FL 33409
                                                                               City, State, ZIP Code



                                                                               11                                                              On which line in Part 1 did you enter the creditor? 2.20
                                                                               Ocwen Loan Servicing, Llc
                                                                               Creditor's Name                                                 Last 4 digits of account number:
                                                                               Attn: Research/Bankruptcy
                                                                               Number Street
                                                                               1661 Worthington Rd Ste 100

                                                                               West Palm Bch FL 33409
                                                                               City, State, ZIP Code




                                                                               Official Form 106D                  Schedule D: Creditors Who Have Claims Secured by Property                                      Page 9
                                                                                                   Case 17-31052             Doc 17     Filed 01/16/18 Entered 01/16/18 14:55:32                                     Desc Main
                                                                                                                                         Document     Page 25 of 67

                                                                                     Fill in this information to identify your case:

                                                                                     Debtor 1           Richard M. Shove

                                                                                     Debtor 2           Kathleen E. Shove
                                                                                     (Spouse, if filing)                                                                                                            Check if this is an amended
                                                                                                                                                                                                                    filing
                                                                                     United States Bankruptcy Court for the District of Massachusetts

                                                                                     Case number             3:17-bk-31052
                                                                                     (If known)



                                                                               Official Form 106E/F
                                                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                      12/15


                                                                               Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
                                                                               List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
                                                                               A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
                                                                               creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
                                                                               needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the
                                                                               top of any additional pages, write your name and case number (if known).


                                                                                Part 1:                  List All of Your PRIORITY Unsecured Claims
                                                                               1.     Do any creditors have priority unsecured claims against you?
                                                                                          No. Go to Part 2.
                                                                                          Yes.


                                                                                Part 2:                  List All of Your NONPRIORITY Unsecured Claims
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                                                                               3.     Do any creditors have nonpriority unsecured claims against you?
                                                                                          No. You have nothing to report in this part. Submit this form to the court with your other schedules.
                                                                                          Yes.

                                                                               4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
                                                                                      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims
                                                                                      already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority
                                                                                      unsecured claims fill out the Continuation Page of Part 2.

                                                                                                                                                                                                                                 Total claim

                                                                               4.1                                                                 Last 4 digits of account number: -1461                                               $402.16
                                                                               Advanced Berkshire Medical Imaging
                                                                               Nonpriority Creditor's Name                                         When was the debt incurred: 07/10/2013
                                                                               2527 Cranberry Highway
                                                                               Number Street                                                       As of the date you file, the claim is: Check all that apply
                                                                                                                                                         Contingent
                                                                                                                                                         Unliquidated
                                                                               Wareham MA 02571                                                          Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                      Student loans
                                                                                     Debtor 2 only                                                      Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                         you did not report as priority claims
                                                                                     At least one of the debtors and another                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                        Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 1
                                                                                                   Case 17-31052             Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                                    Desc Main
                                                                               Debtor 1         Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 26 of 67

                                                                                                                                                                                                                              Total claim

                                                                               4.2                                                               Last 4 digits of account number: -c079                                              $115.66
                                                                               Advanced Berkshire Medical Imaging
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 11/06/2017
                                                                               2527 Cranberry Highway
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Wareham MA 02571                                                        Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.3                                                               Last 4 digits of account number: -2008                                            $1,210.92
                                                                               Amex
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2016
                                                                               P O Box 7871
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Fort Lauderdale FL 33329                                                Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.4                                                               Last 4 digits of account number:                                                 $35,000.00
                                                                               Arnold Marcus Trustee, NRSM Nominee Trust
                                                                                                                                                 When was the debt incurred: UNKNOWN
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                                                                               Nonpriority Creditor's Name
                                                                               238 Western Ave.
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Sherborn MA 01770                                                       Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Mortgage
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.5                                                               Last 4 digits of account number: -0323                                          $186,000.00
                                                                               Bayview Loan Servicing, LLC
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 1998
                                                                               4425 Ponce De Leon Boulevard
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Coral Gables FL 33146                                                   Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Mortgage
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2
                                                                                                   Case 17-31052             Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                                    Desc Main
                                                                               Debtor 1         Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 27 of 67

                                                                                                                                                                                                                              Total claim

                                                                               4.6                                                               Last 4 digits of account number:                                                 $85,000.00
                                                                               Berkshire Bank
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 11/25/2015
                                                                               P.O. Box 1308, Attn: Bankruptcy
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Mortgage Deficiency
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.7                                                               Last 4 digits of account number: -8476                                              $142.00
                                                                               Berkshire Faculty Services
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 04/04/2017
                                                                               Po Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.8                                                               Last 4 digits of account number: -0828                                            $1,767.07
                                                                               Berkshire Health Systems Billing
                                                                                                                                                 When was the debt incurred: 04/27/2014
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                                                                               Nonpriority Creditor's Name
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.9                                                               Last 4 digits of account number: -7138                                            $1,926.49
                                                                               Berkshire Health Systems Billing
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2013
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3
                                                                                                   Case 17-31052             Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                                    Desc Main
                                                                               Debtor 1         Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 28 of 67

                                                                                                                                                                                                                              Total claim

                                                                               4.10                                                              Last 4 digits of account number: -1267                                            $2,305.97
                                                                               Berkshire Health Systems Billing
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2016
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.11                                                              Last 4 digits of account number: -0684                                            $2,154.96
                                                                               Berkshire Health Systems Billing
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2013
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.12                                                              Last 4 digits of account number: -3302                                              $175.32
                                                                               Berkshire Health Systems Billing
                                                                                                                                                 When was the debt incurred: 01/19/2016
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                                                                               Nonpriority Creditor's Name
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.13                                                              Last 4 digits of account number: -6098                                              $267.96
                                                                               Berkshire Health Systems Billing
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 11/09/2016
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4
                                                                                                   Case 17-31052             Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                                    Desc Main
                                                                               Debtor 1         Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 29 of 67

                                                                                                                                                                                                                              Total claim

                                                                               4.14                                                              Last 4 digits of account number: -8456                                              $200.59
                                                                               Berkshire Health Systems Billing
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 10/31/2016
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.15                                                              Last 4 digits of account number: -8653                                              $708.79
                                                                               Berkshire Health Systems Billing
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 04/04/2017
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.16                                                              Last 4 digits of account number: -0376                                            $2,189.96
                                                                               Berkshire Health Systems Billing
                                                                                                                                                 When was the debt incurred: 04/27/2014
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                                                                               Nonpriority Creditor's Name
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.17                                                              Last 4 digits of account number: -6214                                              $202.36
                                                                               Berkshire Health Systems Billing
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 12/26/2016
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5
                                                                                                   Case 17-31052             Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                                    Desc Main
                                                                               Debtor 1         Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 30 of 67

                                                                                                                                                                                                                              Total claim

                                                                               4.18                                                              Last 4 digits of account number: -5991                                              $926.01
                                                                               Berkshire Health Systems Billing
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 10/05/2016
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.19                                                              Last 4 digits of account number: -6114                                              $309.64
                                                                               Berkshire Health Systems Billing
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 10/12/2016
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.20                                                              Last 4 digits of account number: -1267                                            $2,506.56
                                                                               Berkshire Health Systems Billing
                                                                                                                                                 When was the debt incurred: 2017
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                                                                               Nonpriority Creditor's Name
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.21                                                              Last 4 digits of account number: -0687                                            $1,327.61
                                                                               Berkshire Health Systems Billing
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2014
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 6
                                                                                                   Case 17-31052             Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                                    Desc Main
                                                                               Debtor 1         Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 31 of 67

                                                                                                                                                                                                                              Total claim

                                                                               4.22                                                              Last 4 digits of account number: -9488                                              $106.84
                                                                               Berkshire Health Systems Billing
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2015
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.23                                                              Last 4 digits of account number: -2419                                              $159.88
                                                                               Berkshire Health Systems Billing
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 03/27/2017
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.24                                                              Last 4 digits of account number: -1043                                              $282.21
                                                                               Berkshire Health Systems Billing
                                                                                                                                                 When was the debt incurred: 2016
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                                                                               Nonpriority Creditor's Name
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.25                                                              Last 4 digits of account number: -8235                                               $79.52
                                                                               Berkshire Health Systems Billing
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2014
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 7
                                                                                                   Case 17-31052             Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                                    Desc Main
                                                                               Debtor 1         Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 32 of 67

                                                                                                                                                                                                                              Total claim

                                                                               4.26                                                              Last 4 digits of account number: -8236                                              $191.56
                                                                               Berkshire Health Systems Billing
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2014
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.27                                                              Last 4 digits of account number: -8242                                              $199.08
                                                                               Berkshire Health Systems Billing
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2015
                                                                               PO Box 4999
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01202                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.28                                                              Last 4 digits of account number: -5061                                              $157.00
                                                                               Boston Emerg Physicians Foundation
                                                                                                                                                 When was the debt incurred: 03/31/2014
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                                                                               Nonpriority Creditor's Name
                                                                               PO Box 808
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Grand Rapids MI 49518                                                   Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.29                                                              Last 4 digits of account number: -5664                                              $471.00
                                                                               Boston University General Surgical
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 06/09/2013
                                                                               PO Box 3337
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Boston MA 02241                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 8
                                                                                                   Case 17-31052             Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                                    Desc Main
                                                                               Debtor 1         Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 33 of 67

                                                                                                                                                                                                                              Total claim

                                                                               4.30                                                              Last 4 digits of account number: -5664                                           $10,533.00
                                                                               BU Orthopaedic Surgical Assoc
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 06/11/2013
                                                                               PO Box 414145
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Boston MA 02241                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.31                                                              Last 4 digits of account number: -5000                                          $100,651.00
                                                                               Caliber Home Loans, In
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: UNKNOWN
                                                                               P.O. Box 24610
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Oklahoma City OK 73124                                                  Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Mortgage
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.32                                                              Last 4 digits of account number: -1290                                            $1,494.00
                                                                               Chase
                                                                                                                                                 When was the debt incurred: 12/2008
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                                                                               Nonpriority Creditor's Name
                                                                               P.O. Box 15298
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Wilmington DE 19850                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.33                                                              Last 4 digits of account number: -4845                                            $1,169.79
                                                                               Citibank Sears
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2013
                                                                               Attn:Centralized Bankruptcy
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               PO Box 790040                                                           Contingent
                                                                                                                                                       Unliquidated
                                                                               Saint Louis MO 63179                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify credit card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 9
                                                                                                   Case 17-31052             Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                                    Desc Main
                                                                               Debtor 1         Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 34 of 67

                                                                                                                                                                                                                              Total claim

                                                                               4.34                                                              Last 4 digits of account number:                                                  $1,500.00
                                                                               City of Pittsfield
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2017
                                                                               70 Allen St #112
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01201                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Utility
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.35                                                              Last 4 digits of account number: -5493                                              $185.00
                                                                               Collection
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 02/2014
                                                                               194 Boston Post Rd
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               East Lyme CT 06333                                                      Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Collection Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.36                                                              Last 4 digits of account number: -2815                                          UNKNOWN
                                                                               Commonwealth of Massachusetts
                                                                                                                                                 When was the debt incurred: 2015
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                                                                               Nonpriority Creditor's Name
                                                                               One Ashburton Place
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Boston MA 02108                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Workers Compensation Claim
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.37                                                              Last 4 digits of account number: -6107                                              $148.00
                                                                               Credit One Bank Na
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 06/2017
                                                                               P.O. Box 98875
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Las Vegas NV 89193                                                      Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 10
                                                                                                   Case 17-31052             Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                                    Desc Main
                                                                               Debtor 1         Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 35 of 67

                                                                                                                                                                                                                              Total claim

                                                                               4.38                                                              Last 4 digits of account number:                                                    $500.00
                                                                               Cynthia A. Spinola
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2017
                                                                               82 Wendell Ave.
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Pittsfield MA 01201                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.39                                                              Last 4 digits of account number: 4055                                               $919.00
                                                                               Daley & Sons Trucking Inc
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 02/2016
                                                                               PO Box 546
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Lee MA 01238                                                            Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Service
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.40                                                              Last 4 digits of account number: -2003                                              $430.00
                                                                               Eversource
                                                                                                                                                 When was the debt incurred: 2017
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                                                                               Nonpriority Creditor's Name
                                                                               PO Box 2899
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Hartford CT 06101                                                       Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Utility
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.41                                                              Last 4 digits of account number: -7001                                              $285.04
                                                                               Eversource
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2017
                                                                               PO Box 2899
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Hartford CT 06101                                                       Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Utility
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 11
                                                                                                   Case 17-31052             Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                                    Desc Main
                                                                               Debtor 1         Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 36 of 67

                                                                                                                                                                                                                              Total claim

                                                                               4.42                                                              Last 4 digits of account number: -1099                                              $482.59
                                                                               Eversource
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2017
                                                                               PO Box 2899
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Hartford CT 06101                                                       Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Utility
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.43                                                              Last 4 digits of account number: -5625                                           $16,199.45
                                                                               First Horizon Home Loans
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 01/13/2017
                                                                               4000 Horizon Way
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Irving TX 75063                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Mortgage
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.44                                                              Last 4 digits of account number: 3556                                             $6,687.87
                                                                               Frank Consolati Insurance Agency
                                                                                                                                                 When was the debt incurred: 2014
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                                                                               Nonpriority Creditor's Name
                                                                               PO Box 286
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Lee MA 01238                                                            Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Service
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.45                                                              Last 4 digits of account number: 1595                                             $2,353.18
                                                                               Internal Revenue Service
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2011
                                                                               PO Box 7346
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Philadelphia PA 19101-7436                                              Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Taxes
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 12
                                                                                                   Case 17-31052             Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                                    Desc Main
                                                                               Debtor 1         Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 37 of 67

                                                                                                                                                                                                                              Total claim

                                                                               4.46                                                              Last 4 digits of account number:                                                    $174.75
                                                                               Massachusetts Department of Revenue
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2011
                                                                               Bankruptcy Unit
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               PO Box 9564                                                             Contingent
                                                                                                                                                       Unliquidated
                                                                               Boston MA 02114-9564                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Taxes
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.47                                                              Last 4 digits of account number: -0315                                              $752.70
                                                                               Muncie City Court
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2012
                                                                               300 N High St
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Muncie IN 47305                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Fee
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.48                                                              Last 4 digits of account number: -5625                                           $68,215.00
                                                                               Nationstar Mortgage LLC
                                                                                                                                                 When was the debt incurred: 04/2007
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                                                                               Nonpriority Creditor's Name
                                                                               PO Box 619096
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Dallas TX 75261-9741                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Mortgage
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.49                                                              Last 4 digits of account number: -9139                                          $149,521.00
                                                                               Nationstar Mortgage LLC
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 12/2005
                                                                               PO Box 619096
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Dallas TX 75261-9741                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Mortgage
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 13
                                                                                                   Case 17-31052             Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                                    Desc Main
                                                                               Debtor 1         Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 38 of 67

                                                                                                                                                                                                                              Total claim

                                                                               4.50                                                              Last 4 digits of account number:                                                 $35,000.00
                                                                               Nick DellaRocco
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2004
                                                                               17524 Ospre Glenn Dr.
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Orlando FL 32820                                                        Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Personal Loan
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.51                                                              Last 4 digits of account number: -3104                                            $1,573.00
                                                                               Northern Nurseries
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2014
                                                                               PO Box 1259
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Enfield CT 06083                                                        Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Collection Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.52                                                              Last 4 digits of account number: -5316                                               $75.00
                                                                               NRA Group, LLC d/b/a National Recovery Agency
                                                                                                                                                 When was the debt incurred: 08/2017
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                                                                               Nonpriority Creditor's Name
                                                                               2491 Paxton Street
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Harrisburg PA 17111                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Collection Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.53                                                              Last 4 digits of account number: -6655                                              $184.00
                                                                               ONLINE Information Services, Inc. d/b/a ONLINE Collections
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 07/2014
                                                                               685 W. Firetower Road
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Winterville NC 28590                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Collection Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 14
                                                                                                   Case 17-31052             Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                                    Desc Main
                                                                               Debtor 1         Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 39 of 67

                                                                                                                                                                                                                              Total claim

                                                                               4.54                                                              Last 4 digits of account number: -5043                                              $471.00
                                                                               Peter Roberts & Associates, Inc.
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 11/2014
                                                                               231 East Main Street
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Milford MA 01757                                                        Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Collection Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.55                                                              Last 4 digits of account number:                                                    $752.70
                                                                               Pioneer Credit Recovery, Inc.
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: UNKNOWN
                                                                               26 Edward Street
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Arcade NY 14009                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Collection Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.56                                                              Last 4 digits of account number: -6204                                               $66.66
                                                                               Spectrum
                                                                                                                                                 When was the debt incurred: 2017
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                                                                               Nonpriority Creditor's Name
                                                                               75 Glen Rd Ste 110
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Sandy Hook CT 06482                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Service
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.57                                                              Last 4 digits of account number: -5020                                           $10,706.00
                                                                               Square One Financial Cach Llc
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 05/20/2015
                                                                               P.O. Box 5980
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Denver CO 80127                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Personal Loan
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 15
                                                                                                   Case 17-31052             Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                                    Desc Main
                                                                               Debtor 1         Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 40 of 67

                                                                                                                                                                                                                              Total claim

                                                                               4.58                                                              Last 4 digits of account number: -0618                                              $477.75
                                                                               State Auto Insurance
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2017
                                                                               Po Box 182738
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Columbus OH 43218                                                       Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.59                                                              Last 4 digits of account number: -B233                                              $608.65
                                                                               Surgi Care, Inc
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2013
                                                                               PO Box 845352
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Boston MA 02284                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.60                                                              Last 4 digits of account number: -9597                                               $66.66
                                                                               Time Warner Bankruptcy Notice
                                                                                                                                                 When was the debt incurred: 2017
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                                                                               Nonpriority Creditor's Name
                                                                               3347 Platt Springs Rd.
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               West Columbia SC 29170                                                  Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Service
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.61                                                              Last 4 digits of account number:                                                  $2,200.00
                                                                               Town of Lenox
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2017
                                                                               Collector of Taxes
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Lenox MA 01240                                                          Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Utility
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 16
                                                                                                   Case 17-31052             Doc 17     Filed 01/16/18 Entered 01/16/18 14:55:32                                   Desc Main
                                                                               Debtor 1         Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                         Document     Page 41 of 67

                                                                                                                                                                                                                              Total claim

                                                                               4.62                                                              Last 4 digits of account number: -5819                                            $4,365.00
                                                                               UConn Health Center Anesthesiology
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 12/13/2013
                                                                               PO Box 1688
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Hartford CT 06144                                                       Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.63                                                              Last 4 digits of account number: -2723                                           $21,332.50
                                                                               University Physicians
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2013
                                                                               PO Box 660
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Hartford CT 06142                                                       Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.64                                                              Last 4 digits of account number: -9095                                              $148.80
                                                                               Verizon
                                                                                                                                                 When was the debt incurred: 2014
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                                                                               Nonpriority Creditor's Name
                                                                               500 Technology Dr Ste 30
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Weldon Spring MO 63304                                                  Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Service
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.65                                                              Last 4 digits of account number: -8950                                            $9,556.42
                                                                               Wells Fargo Business Direct
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 2008
                                                                               PO Box 348750
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Sacramento CA 95834                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes



                                                                                Part 3:                  List Others to Be Notified for a Debt That You Already Listed




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 17
                                                                                                 Case 17-31052         Doc 17        Filed 01/16/18 Entered 01/16/18 14:55:32                                      Desc Main
                                                                               Debtor 1      Richard M. Shove                                                                                                     Case number: 3:17-bk-31052
                                                                                                                                      Document     Page 42 of 67

                                                                               5.    Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
                                                                                     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2,
                                                                                     then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list
                                                                                     the additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit
                                                                                     this page.

                                                                               1                                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Action Collection Agencies, Inc.                                           Line 4.7 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               16 Commerce Boulevard
                                                                               Number Street                                                              Last 4 digits of account number:
                                                                               Unit #4

                                                                               Middleboro MA 02346
                                                                               City, State, ZIP Code



                                                                               2                                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Allen Daniel Associates, Inc., The                                         Line 4.46 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               159 Overland Rd
                                                                               Number Street                                                              Last 4 digits of account number:
                                                                               Suite 406

                                                                               Waltham MA 02451
                                                                               City, State, ZIP Code



                                                                               3                                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               American Express                                                           Line 4.3 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               PO Box 1270
                                                                               Number Street                                                              Last 4 digits of account number:


                                                                               Newark NJ 07101
                                                                               City, State, ZIP Code
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                                                                               4                                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Carter Business Service, Inc.                                              Line 4.11 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               150A Andover Street
                                                                               Number Street                                                              Last 4 digits of account number:
                                                                               Suite 12A

                                                                               Danvers MA 01923
                                                                               City, State, ZIP Code



                                                                               5                                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Carter Business Service, Inc.                                              Line 4.12 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               150A Andover Street
                                                                               Number Street                                                              Last 4 digits of account number:
                                                                               Suite 12A

                                                                               Danvers MA 01923
                                                                               City, State, ZIP Code



                                                                               6                                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Carter Business Service, Inc.                                              Line 4.14 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               150A Andover Street
                                                                               Number Street                                                              Last 4 digits of account number:
                                                                               Suite 12A

                                                                               Danvers MA 01923
                                                                               City, State, ZIP Code




                                                                               Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 18
                                                                                                 Case 17-31052   Doc 17   Filed 01/16/18 Entered 01/16/18 14:55:32                                     Desc Main
                                                                               Debtor 1      Richard M. Shove                                                                                         Case number: 3:17-bk-31052
                                                                                                                           Document     Page 43 of 67

                                                                               7                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Carter Business Service, Inc.                                  Line 4.20 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               150A Andover Street
                                                                               Number Street                                                  Last 4 digits of account number:
                                                                               Suite 12A

                                                                               Danvers MA 01923
                                                                               City, State, ZIP Code



                                                                               8                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Carter Business Service, Inc.                                  Line 4.10 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               150A Andover Street
                                                                               Number Street                                                  Last 4 digits of account number:
                                                                               Suite 12A

                                                                               Danvers MA 01923
                                                                               City, State, ZIP Code



                                                                               9                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Carter Business Service, Inc.                                  Line 4.22 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               150A Andover Street
                                                                               Number Street                                                  Last 4 digits of account number:
                                                                               Suite 12A

                                                                               Danvers MA 01923
                                                                               City, State, ZIP Code



                                                                               10                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Carter Business Service, Inc.                                  Line 4.23 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               150A Andover Street
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                                                                               Number Street                                                  Last 4 digits of account number:
                                                                               Suite 12A

                                                                               Danvers MA 01923
                                                                               City, State, ZIP Code



                                                                               11                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Carter Business Service, Inc.                                  Line 4.24 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               150A Andover Street
                                                                               Number Street                                                  Last 4 digits of account number:
                                                                               Suite 12A

                                                                               Danvers MA 01923
                                                                               City, State, ZIP Code



                                                                               12                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Carter Business Service, Inc.                                  Line 4.25 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               150A Andover Street
                                                                               Number Street                                                  Last 4 digits of account number:
                                                                               Suite 12A

                                                                               Danvers MA 01923
                                                                               City, State, ZIP Code




                                                                               Official Form 106E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 19
                                                                                                 Case 17-31052   Doc 17   Filed 01/16/18 Entered 01/16/18 14:55:32                                     Desc Main
                                                                               Debtor 1      Richard M. Shove                                                                                         Case number: 3:17-bk-31052
                                                                                                                           Document     Page 44 of 67

                                                                               13                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Carter Business Service, Inc.                                  Line 4.26 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               150A Andover Street
                                                                               Number Street                                                  Last 4 digits of account number:
                                                                               Suite 12A

                                                                               Danvers MA 01923
                                                                               City, State, ZIP Code



                                                                               14                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Carter Business Service, Inc.                                  Line 4.27 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               150A Andover Street
                                                                               Number Street                                                  Last 4 digits of account number:
                                                                               Suite 12A

                                                                               Danvers MA 01923
                                                                               City, State, ZIP Code



                                                                               15                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Carter Business Service, Inc.                                  Line 4.21 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               150A Andover Street
                                                                               Number Street                                                  Last 4 digits of account number:
                                                                               Suite 12A

                                                                               Danvers MA 01923
                                                                               City, State, ZIP Code



                                                                               16                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Chase Card Services                                            Line 4.32 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Attn: Correspondence
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                                                                               Number Street                                                  Last 4 digits of account number:
                                                                               P.O. Box 15278

                                                                               Wilmington DE 19850
                                                                               City, State, ZIP Code



                                                                               17                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Collection                                                     Line 4.35 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               1 Clarks Hl Ste 302
                                                                               Number Street                                                  Last 4 digits of account number:


                                                                               Framingham MA 01702
                                                                               City, State, ZIP Code



                                                                               18                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Credit Management, LP                                          Line 4.60 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               PO Box 118288
                                                                               Number Street                                                  Last 4 digits of account number:


                                                                               Carrollton TX 75007
                                                                               City, State, ZIP Code




                                                                               Official Form 106E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 20
                                                                                                 Case 17-31052   Doc 17   Filed 01/16/18 Entered 01/16/18 14:55:32                                     Desc Main
                                                                               Debtor 1      Richard M. Shove                                                                                         Case number: 3:17-bk-31052
                                                                                                                           Document     Page 45 of 67

                                                                               19                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Credit One Bank Na                                             Line 4.37 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               P.O. Box 98873
                                                                               Number Street                                                  Last 4 digits of account number:


                                                                               Las Vegas NV 89193
                                                                               City, State, ZIP Code



                                                                               20                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Crown Acceptance Corporation                                   Line 4.33 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               930 Bedford Street
                                                                               Number Street                                                  Last 4 digits of account number:


                                                                               Abington MA 02351
                                                                               City, State, ZIP Code



                                                                               21                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Eversouce Bankruptcy Notice                                    Line 4.41 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               PO Box 270
                                                                               Number Street                                                  Last 4 digits of account number:


                                                                               Hartford CT 06141
                                                                               City, State, ZIP Code



                                                                               22                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Guaetta and Benosn, LLC                                        Line 4.43 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               229 Billerica Rd.
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                                                                               Number Street                                                  Last 4 digits of account number:


                                                                               Chelmsford MA 01824
                                                                               City, State, ZIP Code



                                                                               23                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               I.C. System, Inc.                                              Line 4.64 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               444 East Highway 96 East
                                                                               Number Street                                                  Last 4 digits of account number:


                                                                               St. Paul MN 55164
                                                                               City, State, ZIP Code



                                                                               24                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               IL D & A Services LLC                                          Line 4.33 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               1400 E Touhy Ave., Ste G2
                                                                               Number Street                                                  Last 4 digits of account number:


                                                                               Des Plaines IL 60018
                                                                               City, State, ZIP Code




                                                                               Official Form 106E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 21
                                                                                                 Case 17-31052    Doc 17   Filed 01/16/18 Entered 01/16/18 14:55:32                                     Desc Main
                                                                               Debtor 1      Richard M. Shove                                                                                          Case number: 3:17-bk-31052
                                                                                                                            Document     Page 46 of 67

                                                                               25                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               J.A. Cambece Law Office. P.C.                                   Line 4.33 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               200 Cummings Center
                                                                               Number Street                                                   Last 4 digits of account number:
                                                                               Suite 173D

                                                                               Beverly MA 01915
                                                                               City, State, ZIP Code



                                                                               26                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               National Recovery Agency                                        Line 4.52 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               2491 Paxton St
                                                                               Number Street                                                   Last 4 digits of account number:


                                                                               Harrisburg PA 17111
                                                                               City, State, ZIP Code



                                                                               27                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Nationstar Mortgage Llc                                         Line 4.49 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Attn: Bankruptcy
                                                                               Number Street                                                   Last 4 digits of account number:
                                                                               8950 Cypress Waters Blvd

                                                                               Coppell TX 75019
                                                                               City, State, ZIP Code



                                                                               28                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Nationstar Mortgage Llc                                         Line 4.48 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Attn: Bankruptcy
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                                                                               Number Street                                                   Last 4 digits of account number:
                                                                               8950 Cypress Waters Blvd

                                                                               Coppell TX 75019
                                                                               City, State, ZIP Code



                                                                               29                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Online Collections                                              Line 4.53 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               P.O. Box 1489
                                                                               Number Street                                                   Last 4 digits of account number:


                                                                               Winterville NC 28590
                                                                               City, State, ZIP Code



                                                                               30                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Peskin, Courchesne & Allen, P.C.                                Line 4.51 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               1391 Main St
                                                                               Number Street                                                   Last 4 digits of account number:
                                                                               Suite 201

                                                                               Springfield MA 01103
                                                                               City, State, ZIP Code




                                                                               Official Form 106E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 22
                                                                                                 Case 17-31052          Doc 17     Filed 01/16/18 Entered 01/16/18 14:55:32                                      Desc Main
                                                                               Debtor 1      Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                    Document     Page 47 of 67

                                                                               31                                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Peter Roberts & Associates                                               Line 4.54 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               231 E Main St Suite 201
                                                                               Number Street                                                            Last 4 digits of account number:


                                                                               Milford MA 01757
                                                                               City, State, ZIP Code



                                                                               32                                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Peter Roberts & Associates, Inc.                                         Line 4.30 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               231 East Main Street
                                                                               Number Street                                                            Last 4 digits of account number:


                                                                               Milford MA 01757
                                                                               City, State, ZIP Code



                                                                               33                                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Pioneer Credit Recovery, Inc.                                            Line 4.55 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               197 SW Waterford Ct
                                                                               Number Street                                                            Last 4 digits of account number:


                                                                               Lake City FL 32025
                                                                               City, State, ZIP Code



                                                                               34                                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Pioneer Credit Recovery, Inc.                                            Line 4.47 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               26 Edward Street
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                                                                               Number Street                                                            Last 4 digits of account number:


                                                                               Arcade NY 14009
                                                                               City, State, ZIP Code



                                                                               35                                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Sunrise Credit Services, Inc.                                            Line 4.56 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               5230 Washington Street
                                                                               Number Street                                                            Last 4 digits of account number:


                                                                               West Roxbury MA 02132
                                                                               City, State, ZIP Code



                                                                               36                                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Time Warner                                                              Line 4.60 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               2629 Dickerson Pkwy
                                                                               Number Street                                                            Last 4 digits of account number:


                                                                               Carrollton TX 75007
                                                                               City, State, ZIP Code




                                                                                Part 4:                Add the Amounts for Each Type of Unsecured Claim
                                                                               6.    Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
                                                                                     Add the amounts for each type of unsecured claim.

                                                                                                                                                                                                                   Total claim




                                                                               Official Form 106E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 23
                                                                                             Case 17-31052                        Doc 17                Filed 01/16/18 Entered 01/16/18 14:55:32                                                        Desc Main
                                                                               Debtor 1   Richard M. Shove                                                                                                                                              Case number: 3:17-bk-31052
                                                                                                                                                         Document     Page 48 of 67

                                                                               Total
                                                                               claims from
                                                                               Part 1         6a. Domestic support obligations .................................................................................................                  6a.              $0.00

                                                                                              6b. Taxes and certain other debts you owe the government .....................................................                                      6b.              $0.00

                                                                                              6c. Claims for death or personal injury while you were intoxicated..........................................                                        6c.              $0.00

                                                                                              6d. Other. Add all other priority unsecured claims. Write that amount here.....................................                                     6d.              $0.00

                                                                                              6e. Total Add lines 6a through 6d. ...................................................................................................              6e.              $0.00

                                                                               Total
                                                                               claims from
                                                                               Part 2         6f. Student loans .............................................................................................................................     6f.              $0.00

                                                                                              6g. Obligations arising out of a separation agreement or divorce that you did not report as
                                                                                              priority claims .................................................................................................................................   6g.              $0.00

                                                                                              6h. Debts to pension or profit-sharing plans, and other similar debts......................................                                         6h.              $0.00

                                                                                              6i. Other. Add all other nonpriority unsecured claims. Write that amount here................................                                       6i.       $776,272.63

                                                                                              6j. Total. Add lines 6f through 6i. .....................................................................................................           6j.       $776,272.63
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                                                                               Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                                          Page 24
                                                                                                 Case 17-31052            Doc 17       Filed 01/16/18 Entered 01/16/18 14:55:32                               Desc Main
                                                                                                                                        Document     Page 49 of 67

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Richard M. Shove

                                                                                    Debtor 2        Kathleen E. Shove
                                                                                    (Spouse, if filing)                                                                                                      Check if this is an amended
                                                                                                                                                                                                             filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number           3:17-bk-31052
                                                                                    (If known)



                                                                               Official Form 106G
                                                                               Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
                                                                               additional pages, write your name and case number (if known).

                                                                               1.    Do you have any executory contracts or unexpired leases?
                                                                                         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                                                                                         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
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                                                                               Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                               Page 1
                                                                                                 Case 17-31052            Doc 17    Filed 01/16/18 Entered 01/16/18 14:55:32                         Desc Main
                                                                                                                                     Document     Page 50 of 67

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Richard M. Shove

                                                                                    Debtor 2        Kathleen E. Shove
                                                                                    (Spouse, if filing)                                                                                             Check if this is an amended
                                                                                                                                                                                                    filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number           3:17-bk-31052
                                                                                    (If known)



                                                                               Official Form 106H
                                                                               Schedule H: Your Codebtors                                                                                                             12/15


                                                                               Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
                                                                               people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
                                                                               fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages,
                                                                               write your name and case number (if known). Answer every question.

                                                                               1.    Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
                                                                                         No
                                                                                         Yes

                                                                               2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and
                                                                                     territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
                                                                                           No. Go to line 3.
                                                                                           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                                                                                                No
                                                                                                Yes. In which community state or territory did you live? . Fill in the name and current address of that person.
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                                                                               3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List
                                                                                     the person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed
                                                                                     the creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form
                                                                                     106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

                                                                               Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                                                                                        Check all schedules that apply

                                                                               3.1                                                                                          Schedule D, line 2.15
                                                                                     Paul Bianco                                                                            Schedule E/F, line
                                                                                     Name                                                                                   Schedule G, line
                                                                                     14 Henry Ave.
                                                                                     Number Street



                                                                                     Lenox Dale MA 01242
                                                                                     City, State, ZIP Code




                                                                               Official Form 106H                                          Schedule H: Your Codebtors                                                     Page 1
                                                                                                 Case 17-31052            Doc 17     Filed 01/16/18 Entered 01/16/18 14:55:32                          Desc Main
                                                                                                                                      Document     Page 51 of 67

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Richard M. Shove
                                                                                                                                                                                                Check if this is:
                                                                                    Debtor 2        Kathleen E. Shove
                                                                                                                                                                                                    An amended filing
                                                                                    (Spouse, if filing)
                                                                                                                                                                                                    A supplement showing
                                                                                                                                                                                                    post-petition chapter 13
                                                                                    United States Bankruptcy Court for the District of Massachusetts
                                                                                                                                                                                                    income as of
                                                                                    Case number           3:17-bk-31052
                                                                                    (If known)



                                                                               Official Form 106I
                                                                               Schedule I: Your Income                                                                                                                  12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                               supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
                                                                               spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
                                                                               attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                                Part 1:              Describe Employment
                                                                               1.    Fill in your employment                                               Debtor 1                           Debtor 2 or non-filing spouse
                                                                                     information                           Employment status                 Employed                            Employed
                                                                                                                                                             Not employed                        Not employed
                                                                                     If you have more than one job,
                                                                                     attach a separate page with           Occupation                      Manager                            RN
                                                                                     information about additional          Employer's name                 Cut-n-Edge Property Maintenance    Justice Resource Institute
                                                                                     employers.                            Employer's address              PO Box 392                         180 Gould St.
                                                                                                                                                           Lenox Dale, MA 01242               Suite 300
                                                                                     Include part-time, seasonal, or
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                                                                                                                                                                                              Needham Heights, MA 02494
                                                                                     self-employed work.
                                                                                                                           How long employed there?        1 year                             10 months
                                                                                     Occupation may include student or
                                                                                     homemaker, if it applies.


                                                                                                                           Occupation
                                                                                                                           Employer's name
                                                                                                                           Employer's address
                                                                                                                           How long employed there?


                                                                                Part 2:              Give Details About Monthly Income

                                                                               Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space.
                                                                               Including your non-filing spouse unless you are separated.

                                                                               If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                               below. If you need more space, attach a separate sheet to this form.


                                                                                                                                                                                                               For Debtor 2
                                                                                                                                                                                                                    or
                                                                                                                                                                                             For Debtor 1
                                                                                                                                                                                                                non-filing
                                                                                                                                                                                                                 spouse
                                                                               2.    List monthly gross wages, salary, and commissions before all payroll deductions).                 2.         $747.50           $5,093.74
                                                                                     If not paid monthly, calculate what the monthly wage would be.

                                                                               3.    Estimate and list monthly overtime pay.                                                           3.            $0.00               $0.00
                                                                               4.    Calculate gross income. Add line 2 + line 3.                                                      4.         $747.50           $5,093.74



                                                                               Official Form 106I                                               Schedule I: Your Income                                                       Page 1
                                                                                            Case 17-31052              Doc 17         Filed 01/16/18 Entered 01/16/18 14:55:32                     Desc Main
                                                                               Debtor 1    Richard M. Shove                                                                                       Case number: 3:17-bk-31052
                                                                                                                                       Document     Page 52 of 67

                                                                               5.   List All payroll deductions:

                                                                                    5a. Tax, Medicare, and Social Security deductions                                                5a.         $80.94         $826.80
                                                                                    5b. Mandatory contributions for retirement plans                                                 5b.          $0.00           $0.00
                                                                                    5c. Voluntary contributions for retirement plans                                                 5c.          $0.00           $0.00
                                                                                    5d. Required repayments of retirement fund loans                                                 5d.          $0.00           $0.00
                                                                                    5e. Insurance                                                                                    5e.          $0.00         $458.75
                                                                                    5f.   Domestic support obligations                                                               5f.          $0.00           $0.00
                                                                                    5g. Union dues                                                                                   5g.          $0.00           $0.00
                                                                                    5h. Other deductions. Specify:                                                                   5h.          $0.00           $0.00
                                                                               6.   Add the payroll deductions. Add lines 5a through 5h                                               6.         $80.94       $1,285.57
                                                                               7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                               7.    $666.56           $3,808.17
                                                                               8.   List all other income regularly received:

                                                                                    8a. Net income from rental property and from operating a business, profession,                   8a.          $0.00           $0.00
                                                                                        or farm

                                                                                          Attach a statement for each property and business showing gross receipts,
                                                                                          ordinary and necessary business expenses, and the total monthly net income.

                                                                                    8b. Interest and dividends                                                                       8b.          $0.00           $0.00
                                                                                    8c. Family support payments that you, a non-filing spouse, or a dependent                        8c.          $0.00           $0.00
                                                                                        regularly receive
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                                                                                          Include alimony, spousal support, child support, maintenance, divorce settlement,
                                                                                          and property settlement.

                                                                                    8d. Unemployment compensation                                                                    8d.    $191.66               $0.00
                                                                                    8e. Social Security                                                                              8e.          $0.00           $0.00
                                                                                    8f.   Other government assistance that you regularly receive                                     8f.          $0.00           $0.00
                                                                                          Include cash assistance and the value (if known) of any non-cash assistance that
                                                                                          you receive, such as food stamps (benefits under the Supplemental Nutrition
                                                                                          Assistance Program) or housing subsidies. Specify:

                                                                                    8g. Pension or retirement income                                                                 8g.          $0.00           $0.00
                                                                                    8h. Other monthly income. Specify: Aggregate Income from Rentals                                 8h.    $528.29             $528.30
                                                                                          (4625.00) Less Expenses (3568.41) D1 $528.29 D2 $528.30
                                                                               9.   Add all other income. Add lines 8a-8h.                                                            9.    $719.95             $528.30
                                                                               10. Calculate monthly income. Add line 7 + line 9.                                                          10.       $5,722.98
                                                                                   Add the entries in line 9 for Debtor 1 and Debtor 2 or non-filing spouse.

                                                                               11. State all other regular contributions to the expenses that you list in Schedule J                       11.            $0.00
                                                                                   (Official Form 106J).

                                                                                    Include contributions from an unmarried partner, members of your household, your
                                                                                    dependents, your roommates, and other friends or relatives.

                                                                                    Do not include any amounts already included in lines 2-10 or amounts that are not available to
                                                                                    pay expenses listed in Schedule J (Official Form 106J).

                                                                                    Specify:




                                                                               Official Form 106I                                              Schedule I: Your Income                                               Page 2
                                                                                             Case 17-31052           Doc 17        Filed 01/16/18 Entered 01/16/18 14:55:32        Desc Main
                                                                               Debtor 1    Richard M. Shove                                                                        Case number: 3:17-bk-31052
                                                                                                                                    Document     Page 53 of 67

                                                                               12. Add the amounts on lines 10 and 11. The result is the combined monthly income. Also       12.
                                                                                   write that amount on the Summary of Your Assets and Liabilities and Certain Statistical            $5,722.98
                                                                                   Information (Official Form 106Sum) if it applies.

                                                                               13. Do you expect an increase or decrease within the year after you file this form?

                                                                                                         Several properties are in foreclosure and expect income and expenses to change
                                                                                          No
                                                                                          Yes.
                                                                                                         accordingly.
                                                                                          Explain.....
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                                                                               Official Form 106I                                            Schedule I: Your Income                                  Page 3
                                                                                                  Case 17-31052            Doc 17         Filed 01/16/18 Entered 01/16/18 14:55:32                          Desc Main
                                                                                                                                           Document     Page 54 of 67

                                                                                     Fill in this information to identify your case:

                                                                                     Debtor 1        Richard M. Shove
                                                                                                                                                                                                      Check if this is:
                                                                                     Debtor 2        Kathleen E. Shove
                                                                                                                                                                                                          An amended filing
                                                                                     (Spouse, if filing)
                                                                                                                                                                                                          A supplement showing
                                                                                                                                                                                                          post-petition chapter 13
                                                                                     United States Bankruptcy Court for the District of Massachusetts
                                                                                                                                                                                                          expenses as of
                                                                                     Case number           3:17-bk-31052
                                                                                     (If known)



                                                                               Official Form 106J
                                                                               Schedule J: Your Expenses                                                                                                                       12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
                                                                               number (if known). Answer every question.


                                                                                Part 1:               Describe Your Household
                                                                                1.      Is this a joint case?

                                                                                              No. Go to line 2.
                                                                                              Yes. Does Debtor 2 live in a separate household?

                                                                                                     No.
                                                                                                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2

                                                                               2.     Do you have dependents?                                            Dependent's                Dependent's age            Does dependent live
                                                                                                                                  No                     relationship to Debtor                                with you?
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                                                                                      Do not list Debtor 1 or Debtor 2.           Yes. Fill out this     1 or Debtor 2
                                                                                                                                  information for        Son                        12                            No
                                                                                      Do not state the dependents'                each dependent                                                                  Yes
                                                                                      names.
                                                                                                                                                         Son                        6                             No
                                                                                                                                                                                                                  Yes
                                                                                                                                                         Daughter                   8                             No
                                                                                                                                                                                                                  Yes

                                                                               3.     Do your expenses include expenses of people other than yourself and your                          No
                                                                                      dependents?                                                                                       Yes


                                                                                Part 2:               Estimate Your Ongoing Monthly Expenses
                                                                               Estimate your expenses as your bankruptcy filing date unless you are using this form as supplement in a Chapter 13 case to report
                                                                               expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in
                                                                               the applicable date

                                                                               Include expenses paid for with non-cash governmental assistance if you know the value of such assistance and have included it on
                                                                               Schedule I: Your Income(Official Form 106I).


                                                                                Note: Expenses for property other than the debtor(s)' primary residence(s), if any, are reported in the Summary of Business/Real-Estate Income &
                                                                                Expense annexed to Schedule I.

                                                                                                                                                                                                                Your
                                                                                                                                                                                                              expenses
                                                                               4.     The rental or home ownership expenses for your residence. Include first                                          4.       $1,711.48
                                                                                      mortgage payments and any rent for the ground or lot.

                                                                                      If not included in line 4:

                                                                                      4a. Real estate taxes                                                                                           4a.               0.00



                                                                               Official Form 106J                                                  Schedule J: Your Expenses                                                     Page 1
                                                                                            Case 17-31052             Doc 17        Filed 01/16/18 Entered 01/16/18 14:55:32              Desc Main
                                                                               Debtor 1   Richard M. Shove                                                                                Case number: 3:17-bk-31052
                                                                                                                                     Document     Page 55 of 67

                                                                                                                                                                                              Your
                                                                                                                                                                                            expenses
                                                                                    4b. Property, homeowner's, or renter's insurance                                                4b.             0.00
                                                                                    4c. Home maintenance, repair, and upkeep expenses                                               4c.        $100.00
                                                                                    4d. Homeowner's association or condominium dues                                                 4d.             0.00
                                                                               5.   Additional mortgage payments for your residence, such as home equity loans                       5.             0.00
                                                                               6.   Utilities:

                                                                                    6a. Electricity, heat, natural gas                                                              6a.        $321.50
                                                                                    6b. Water, sewer, garbage collection                                                            6b.          $75.00
                                                                                    6c. Telephone, cell phone, Internet, satellite, and cable services                              6c.        $513.00
                                                                                    6d. Other. Specify: N/A                                                                         6d.             0.00
                                                                               7.   Food and housekeeping supplies                                                                   7.      $1,300.00
                                                                               8.   Childcare and children’s education costs                                                         8.      $1,644.00
                                                                               9.   Clothing, laundry, and dry cleaning                                                              9.        $365.00
                                                                               10. Personal care products and services                                                              10.        $280.00
                                                                               11. Medical and dental expenses                                                                      11.        $180.00
                                                                               12. Transportation. Include gas, maintenance, bus or train fare.                                     12.        $617.50
                                                                                   Do not include car payments.
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                                                                               13. Entertainment, clubs, recreation, newspapers, magazine, and books                                13.        $100.00
                                                                               14. Charitable contributions and religious donations                                                 14.        $150.00
                                                                               15. Insurance.
                                                                                   Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                    15a. Life insurance                                                                            15a.        $180.00
                                                                                    15b. Health insurance                                                                          15b.          $80.00
                                                                                    15c. Vehicle insurance                                                                         15c.        $120.00
                                                                                    15d. Other insurance. Specify: N/A                                                             15d.             0.00
                                                                               16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20. Specify: N/A    16.             0.00
                                                                               17. Installment or lease payments

                                                                                    17a. Secured (1999 Bayliner Sunbridge Boat, has not been used in over 9 years. )               17a.        $381.00
                                                                               18. Your payments of alimony, maintenance, and support that you did not report as                    18.             0.00
                                                                                   deducted from your pay on line 5, Schedule I (Official Form 106I)

                                                                               19. Other payments you make to support others who do not live with you.                              19.             0.00
                                                                                   Specify: N/A

                                                                               20. Other real property expenses not included in lines 4 or 5 of this form or on
                                                                                   Schedule I (Official Form 106I)

                                                                                    20a. Mortgages on other property                                                               20a.             0.00
                                                                                    20b. Real estate taxes                                                                         20b.             0.00
                                                                                    20c. Property, homeowner's, or renter's insurance                                              20c.             0.00



                                                                               Official Form 106J                                           Schedule J: Your Expenses                                        Page 2
                                                                                             Case 17-31052            Doc 17       Filed 01/16/18 Entered 01/16/18 14:55:32                            Desc Main
                                                                               Debtor 1    Richard M. Shove                                                                                            Case number: 3:17-bk-31052
                                                                                                                                    Document     Page 56 of 67

                                                                                                                                                                                                           Your
                                                                                                                                                                                                         expenses
                                                                                   20d. Maintenance, repair, and upkeep expenses                                                                20d.              0.00
                                                                                   20e. Homeowner's association or condominium dues                                                             20e.              0.00
                                                                                   20f. Other. Specify:                                                                                         20f.              0.00
                                                                               21. Other. Specify:                                                                                               21.
                                                                                          Annual tax prep                                                                                                     $100.00
                                                                                          Pet food and Vet expenses                                                                                           $130.00
                                                                                          Legal expenses                                                                                                      $100.00
                                                                               22. Calculate your monthly expenses.

                                                                                   22a. Add lines 4 through 21.                                                                                 22a.       $8,448.48
                                                                                   22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                         22b.              0.00
                                                                                   22c. Add line 22a and 22b. The result is your monthly expenses.                                              22c.       $8,448.48


                                                                               23. Calculate your monthly net income

                                                                                   23a. Copy line 12 (your combined monthly income) from Schedule I                                             23a.       $5,722.98
                                                                                   23b. Copy your monthly expenses from line 22 above.                                                          23b.       $8,448.48
                                                                                   23c. Subtract your monthly expenses from your monthly income.                                                23c.      ($2,725.50)
                                                                                        The result is your monthly net income
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                                                                               24. Do you expect an increase or decrease in your expenses within the year after you file this form?

                                                                                   For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease
                                                                                   because of a modification to the terms of your mortgage?

                                                                                                            Several properties are in foreclosure and expect income and expenses to change
                                                                                          No
                                                                                          Yes.
                                                                                                            accordingly. Children will be attending public school next year.
                                                                                          Explain.....




                                                                               Official Form 106J                                          Schedule J: Your Expenses                                                         Page 3
                                                                                               Case 17-31052             Doc 17         Filed 01/16/18 Entered 01/16/18 14:55:32                                    Desc Main
                                                                                                                                         Document     Page 57 of 67

                                                                                  Fill in this information to identify your case:

                                                                                  Debtor 1        Richard M. Shove

                                                                                  Debtor 2        Kathleen E. Shove
                                                                                  (Spouse, if filing)                                                                                                              Check if this is an amended
                                                                                                                                                                                                                   filing
                                                                                  United States Bankruptcy Court for the District of Massachusetts

                                                                                  Case number           3:17-bk-31052
                                                                                  (If known)



                                                                               Official Form 106Dec
                                                                               Declaration About an Individual Debtor’s Schedules                                                                                                    12/15


                                                                               If two married people are filing together, both are equally responsible for supplying correct information.

                                                                               You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
                                                                               obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
                                                                               years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                                                                   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                                                                                          No
                                                                                          Yes. Name of person N/A. Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

                                                                                   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they
                                                                                   are true and correct.
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                                                                                   /s/ Richard M. Shove                                                                                             01/16/2018
                                                                                   Signature of Debtor 1                                                                                            Date

                                                                                   /s/ Kathleen E. Shove                                                                                            01/16/2018
                                                                                   Signature of Debtor 2                                                                                            Date




                                                                               Official Form 106Dec                                 Declaration About an Individual Debtor’s Schedules                                                   Page 1
                                                                                                 Case 17-31052            Doc 17       Filed 01/16/18 Entered 01/16/18 14:55:32                                 Desc Main
                                                                                                                                        Document     Page 58 of 67

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Richard M. Shove

                                                                                    Debtor 2        Kathleen E. Shove
                                                                                    (Spouse, if filing)                                                                                                        Check if this is an amended
                                                                                                                                                                                                               filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number           3:17-bk-31052
                                                                                    (If known)



                                                                               Official Form 107
                                                                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                              04/16


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
                                                                               number (if known). Answer every question.


                                                                                Part 1:              Give Details About Your Marital Status and Where You Lived Before

                                                                               1.    What is your current marital status?
                                                                                        Married
                                                                                        Not married


                                                                               2.    During the last 3 years, have you lived anywhere other than where you live now?
                                                                                         No
                                                                                         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
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                                                                                            Debtor 1                                    Dates Debtor 1 lived      Debtor 2                                        Dates Debtor 2 lived
                                                                                                                                        there                                                                     there

                                                                                            4 May St., Lenox, MA 01240                                              Same as Debtor 1                                Same as Debtor 1
                                                                                                                                        01/01/2016 to             4 May St., Lenox, MA 01240                      01/01/2016 to
                                                                                                                                        12/15/2016                                                                12/15/2016

                                                                               3.    Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
                                                                                     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                     Texas, Washington, and Wisconsin.)
                                                                                         No
                                                                                         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



                                                                                Part 2:              Explain the Sources of Your Income

                                                                               4.    Did you have any income from employment or from operating a business during this year or the two previous calendar
                                                                                     years?
                                                                                     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities. If you are filing a
                                                                                     joint case and you have income that you receive together, list it only once under Debtor 1.
                                                                                           No
                                                                                           Yes. Fill in the details.


                                                                                                                          Debtor 1                                                Debtor 2

                                                                                                                          Sources of income           Gross income                Sources of income             Gross income
                                                                                                                          Check all that apply        (before deductions and      Check all that apply          (before deductions and
                                                                                                                                                      exclusions)                                               exclusions)

                                                                                     From January 1 of current                 Wages, commissions,                                      Wages, commissions,
                                                                                                                               bonuses, tips                                            bonuses, tips
                                                                                     year until the date you                   Operating a business                                     Operating a business
                                                                                     filed for bankruptcy:                                                          $9,000.00                                                 $47,237.43




                                                                               Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     Page 1
                                                                                            Case 17-31052               Doc 17       Filed 01/16/18 Entered 01/16/18 14:55:32                                Desc Main
                                                                               Debtor 1   Richard M. Shove                                                                                                   Case number: 3:17-bk-31052
                                                                                                                                      Document     Page 59 of 67

                                                                                                                        Sources of income           Gross income                Sources of income            Gross income
                                                                                                                        Check all that apply        (before deductions and      Check all that apply         (before deductions and
                                                                                                                                                    exclusions)                                              exclusions)

                                                                                    For last calendar year:                  Wages, commissions,                                      Wages, commissions,
                                                                                    (January 1 to December 31, 2016)         bonuses, tips                                            bonuses, tips
                                                                                                                             Operating a business                ($9,659.00)          Operating a business                        0.00

                                                                                    For the calendar year                    Wages, commissions,                                      Wages, commissions,
                                                                                                                             bonuses, tips                                            bonuses, tips
                                                                                    before that:                             Operating a business                                     Operating a business
                                                                                    (January 1 to December 31, 2015)                                          ($140,272.00)                                                       0.00

                                                                               5.   Did you receive any other income during this year or the two previous calendar years?
                                                                                    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social
                                                                                    Security, unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from
                                                                                    lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you have income that you received
                                                                                    together, list it only once under Debtor 1.

                                                                                    List each source and the gross income from each source separately. Do not include income that you listed in line 4.
                                                                                         No
                                                                                         Yes. Fill in the details.



                                                                                Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy

                                                                               6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

                                                                                          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                                                                                              "incurred by an individual primarily for a personal, family, or household purpose."

                                                                                              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425.00* or more?

                                                                                                    No. Go to line 7.
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                                                                                                    Yes. List below each creditor to whom you paid a total of $6,425.00* or more in one or more payments and the total
                                                                                                        amount you paid that creditor. Do not include payments for domestic support obligations, such as child support
                                                                                                        and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                                              * Subject to adjustment on 04/01/2019 and every 3 years after that for cases filed on or after the date of adjustment.

                                                                                          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                                                                                              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                                                                                                    No. Go to line 7.

                                                                                                    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor.
                                                                                                        Do not include payments for domestic support obligations, such as child support and alimony. Also, do not
                                                                                                        include payments to an attorney for this bankruptcy case.

                                                                               7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
                                                                                    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general
                                                                                    partner; corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting
                                                                                    securities; and any managing agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include
                                                                                    payments for domestic support obligations, such as child support and alimony.
                                                                                         No
                                                                                         Yes. List all payments to an insider


                                                                               8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt
                                                                                    that benefited an insider?
                                                                                    Include payments on debts guaranteed or cosigned by an insider.
                                                                                         No
                                                                                         Yes. List all payments that benefited an insider.



                                                                                Part 4:         Identify Legal Actions, Repossessions, and Foreclosures




                                                                               Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   Page 2
                                                                                           Case 17-31052            Doc 17         Filed 01/16/18 Entered 01/16/18 14:55:32                                 Desc Main
                                                                               Debtor 1   Richard M. Shove                                                                                                  Case number: 3:17-bk-31052
                                                                                                                                    Document     Page 60 of 67

                                                                               9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative
                                                                                    proceeding?
                                                                                    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support
                                                                                    or custody modifications, and contract disputes.
                                                                                         No
                                                                                         Yes. Fill in the details


                                                                                     Case title                       Nature of the case                    Court or agency                       Status of the case

                                                                                     Jose R. Hernandez v.             Civil                                 Berkshire Superior Court              Judgment
                                                                                     Richard Shove and Rick's                                               76 East St
                                                                                     Complete Lawn and                                                      Pittsfield, MA 01201
                                                                                     Landscaping Service, No.
                                                                                     1576cv150

                                                                                     Attorney General for             Recievership                          Western Division Housing
                                                                                     Commonwealth of MA and                                                 Court
                                                                                     Town of Lenox Board of                                                 Pittsfield Session
                                                                                     Health v. Richard Shove                                                76 East St. , Room 2,
                                                                                     and Kathleen Shove, No.                                                Pittsfield, MA 01201
                                                                                     17cv702

                                                                                     Cach LLC v. Richard M.           Civil Collection                      Southern Berkshire District           Judgment and execution
                                                                                     Shove and Kathleen E.                                                  Court
                                                                                     Shove, No. 1629cv000008                                                9 Gilmore Ave
                                                                                                                                                            Great Barrington, MA 01230

                                                                               10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
                                                                                   seized, or levied?
                                                                                   Check all that apply and fill in the details below.
                                                                                       No. Go to line 11.
                                                                                       Yes. Fill in the information below.
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                                                                                     Creditor                                         Describe the property and explain what              Date                  Value of the
                                                                                                                                      happened                                                                  property

                                                                                     Nationstar Mortgage LLC                          73-75-77 Orchard St.,Pittsfield, MA 01201                04/18/2017              $73,058.00
                                                                                     PO Box 619096
                                                                                     Dallas, TX 75261-9741                                 Property was repossessed
                                                                                                                                           Property was foreclosed
                                                                                                                                           Property was garnished
                                                                                                                                           Property was attached, seized, or
                                                                                                                                           levied


                                                                               11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off
                                                                                   any amounts from your accounts or refuse to make a payment because you owed a debt?
                                                                                       No
                                                                                       Yes. Fill in the details


                                                                               12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit
                                                                                   of creditors, a court-appointed receiver, a custodian, or another official?
                                                                                        No
                                                                                        Yes



                                                                                Part 5:         List Certain Gifts and Contributions

                                                                               13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
                                                                                       No
                                                                                       Yes. Fill in the details for each gift.




                                                                               Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   Page 3
                                                                                           Case 17-31052          Doc 17         Filed 01/16/18 Entered 01/16/18 14:55:32                                 Desc Main
                                                                               Debtor 1   Richard M. Shove                                                                                                Case number: 3:17-bk-31052
                                                                                                                                  Document     Page 61 of 67

                                                                               14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than
                                                                                   $600 to any charity?
                                                                                       No
                                                                                       Yes. Fill in the details of each gift or contribution



                                                                                Part 6:        List Certain Losses

                                                                               15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft,
                                                                                   fire, other disaster, or gambling?
                                                                                         No
                                                                                         Yes. Fill in the details



                                                                                Part 7:        List Certain Payments or Transfers

                                                                               16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any
                                                                                   property to anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
                                                                                   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
                                                                                        No
                                                                                        Yes. Fill in the details


                                                                                     Person who was paid                            Description and value of any property               Date payment          Amount of payment
                                                                                                                                    transferred                                         or transfer
                                                                                                                                                                                        was made

                                                                                     Carrie Naatz                                   Expense & fee retainer (including any                    11/21/2017               $4,335.00
                                                                                     1012 Memorial Ave.                             retainer for the filing fee)
                                                                                     West Springfield, MA 01089

                                                                                     Email or website address:
                                                                                     Carrie@NaatzLaw.com
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                                                                                     Person Who Made the Payment if Not
                                                                                     You:

                                                                               17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any
                                                                                   property to anyone who promised to help you deal with your creditors or to make payments to your creditors?
                                                                                   Do not include any payment or transfer that you listed on line 16.
                                                                                       No
                                                                                       Yes. Fill in the details.


                                                                               18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other
                                                                                   than property transferred in the ordinary course of your business or financial affairs?
                                                                                   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your
                                                                                   property). Do not include gifts and transfers that you have already listed on this statement.
                                                                                        No
                                                                                        Yes. Fill in the details


                                                                               19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of
                                                                                   which you are a beneficiary? (These are often called asset-protection devices.)
                                                                                       No
                                                                                       Yes. Fill in the details



                                                                                Part 8:        List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units




                                                                               Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   Page 4
                                                                                            Case 17-31052          Doc 17         Filed 01/16/18 Entered 01/16/18 14:55:32                             Desc Main
                                                                               Debtor 1    Richard M. Shove                                                                                            Case number: 3:17-bk-31052
                                                                                                                                   Document     Page 62 of 67

                                                                               20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
                                                                                   benefit, closed, sold, moved, or transferred?
                                                                                   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
                                                                                   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
                                                                                        No
                                                                                        Yes. Fill in the details


                                                                                     Financial Institution                                  Last 4 digits         Type of account or      Date account      Last balance before
                                                                                                                                            of account            instrument              was closed,       closing or transfer
                                                                                                                                            number                                        sold, moved, or
                                                                                                                                                                                          transferred

                                                                                     Berkshire Bank                                               -1331                Checking               07/19/2017                 0.00
                                                                                     P.O. Box 1308, Attn: Bankruptcy                                                   Savings
                                                                                     Pittsfield, MA 01202                                                              Money market
                                                                                                                                                                       Brokerage
                                                                                                                                                                       Other
                                                                                                                                                                       Checking

                                                                               21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
                                                                                   for securities, cash, or other valuables?
                                                                                        No
                                                                                        Yes. Fill in the details.


                                                                               22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
                                                                                      No
                                                                                      Yes. Fill in the details.



                                                                                Part 9:         Identify Property You Hold or Control for Someone Else

                                                                               23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or
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                                                                                   hold in trust for someone.
                                                                                       No
                                                                                       Yes. Fill in the details.



                                                                                Part 10:        Give Details About Environmental Information
                                                                               For the purpose of Part 10, the following definitions apply:

                                                                                    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
                                                                                    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including
                                                                                    statutes or regulations controlling the cleanup of these substances, wastes, or material.
                                                                                    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it
                                                                                    or used to own, operate, or utilize it, including disposal sites.
                                                                                    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
                                                                                    hazardous material, pollutant, contaminant, or similar term.

                                                                               Report all notices, releases, and proceedings that you know about, regardless of when they occurred.


                                                                               24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an
                                                                                   environmental law?
                                                                                       No
                                                                                       Yes. Fill in the details


                                                                               25. Have you notified any governmental unit of any release of hazardous material?
                                                                                      No
                                                                                      Yes. Fill in the details




                                                                               Official Form 107                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                               Page 5
                                                                                            Case 17-31052            Doc 17        Filed 01/16/18 Entered 01/16/18 14:55:32                              Desc Main
                                                                               Debtor 1    Richard M. Shove                                                                                             Case number: 3:17-bk-31052
                                                                                                                                    Document     Page 63 of 67

                                                                               26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements
                                                                                   and orders.
                                                                                       No
                                                                                       Yes. Fill in the details



                                                                                Part 11:        Give Details About Your Business or Connections to Any Business

                                                                               27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
                                                                                   business?
                                                                                           A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                                                                                           A member of a limited liability company (LLC) or limited liability partnership (LLP)
                                                                                           A partner in a partnership
                                                                                           An officer, director, or managing executive of a corporation
                                                                                           An owner of at least 5% of the voting or equity securities of a corporation

                                                                                          No. None of the above applies. Go to Part 12.
                                                                                          Yes. Check all that apply above and fill in the details below for each business.

                                                                                     Business name and address                     Describe the nature of the business                Employer identification number
                                                                                                                                   and identify the accountant or                     (Do not include SSN or ITIN)
                                                                                                                                   bookkeeper                                         Dates business existed

                                                                                     Ricks Complete Lawn Care                      Landscaping                                        XX-XXXXXXX
                                                                                     5 Crystal St.
                                                                                     Lenox, MA 01240                               N/A                                                1990 to 12/2014

                                                                               28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business?
                                                                                   Include all financial institutions, creditors, or other parties.
                                                                                       No
                                                                                       Yes. Fill in the details below.
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                                                                                Part 12:        Sign Below
                                                                               I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
                                                                               answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by
                                                                               fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18
                                                                               U.S.C. §§ 152, 1341, 1519, and 3571.


                                                                                    /s/ Richard M. Shove                                                                                       01/16/2018
                                                                                    Signature of Debtor 1                                                                                      Date

                                                                                    /s/ Kathleen E. Shove                                                                                      01/16/2018
                                                                                    Signature of Debtor 2                                                                                      Date


                                                                                    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
                                                                                             No
                                                                                             Yes

                                                                                    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
                                                                                             No
                                                                                             Yes. Name of person N/A -- the BkAssist software used to prepare this petition is licensed for use only by
                                                                                             attorneys.




                                                                               Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                               Page 6
                                                                                               Case 17-31052            Doc 17         Filed 01/16/18 Entered 01/16/18 14:55:32                             Desc Main
                                                                                                                                        Document     Page 64 of 67

                                                                                  Fill in this information to identify your case:

                                                                                  Debtor 1        Richard M. Shove

                                                                                  Debtor 2        Kathleen E. Shove
                                                                                  (Spouse, if filing)                                                                                                      Check if this is an amended
                                                                                                                                                                                                           filing
                                                                                  United States Bankruptcy Court for the District of Massachusetts

                                                                                  Case number           3:17-bk-31052
                                                                                  (If known)



                                                                               Official Form 108
                                                                               Statement of Intention for Individuals Filing Under Chapter 7                                                                                 12/15


                                                                               If you are an individual filing under chapter 7, you must fill out this form if:

                                                                                    creditors have claims secured by your property, or
                                                                                    you have leased personal property and the lease has not expired.

                                                                               You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
                                                                               whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

                                                                               If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
                                                                               sign and date the form.

                                                                               Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
                                                                               write your name and case number (if known).


                                                                                Part 1:            List Your Creditors Who Hold Secured Claims
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                                                                               For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D), fill
                                                                               in the information below.


                                                                                    Identify the creditor and the property that is collateral    What do you intend to do with the property that                Did you claim the
                                                                                                                                                 secures a debt?                                                property as exempt
                                                                                                                                                                                                                on Schedule C?

                                                                                    Cach LLC                                                          Surrender the property.                                        No
                                                                                                                                                      Retain the property and redeem it.                             Yes
                                                                                    Rental Properties owned already Individually listed.              Retain the property and enter into a Reaffirmation
                                                                                    Deed References in Berkshire Middle Registry of Deeds::           Agreement.
                                                                                    Book 1528, Page 404; Book 2814 Page 58; Book 3435,                Retain the property and [explain]:
                                                                                    Page 134; Book 1561, Page 221. Property listed for Lien
                                                                                    attachment puposes

                                                                                    CACH LLC,                                                         Surrender the property.                                        No
                                                                                                                                                      Retain the property and redeem it.                             Yes
                                                                                    5 Crystal St., Lenoxdale, MA; Deed located at 1485, pg            Retain the property and enter into a Reaffirmation
                                                                                    441; Homestead in 5526, pg 148.                                   Agreement.
                                                                                                                                                      Retain the property and [explain]: Avoid this lien
                                                                                                                                                      pursuant to § 522(f)

                                                                                    Chase Mtg                                                         Surrender the property.                                        No
                                                                                                                                                      Retain the property and redeem it.                             Yes
                                                                                    8 Crystal St, Lenox Dale, MA; 2 family; Deed in Berkshire         Retain the property and enter into a Reaffirmation
                                                                                    Middle                                                            Agreement.
                                                                                                                                                      Retain the property and [explain]:

                                                                                    Ditech Financial Llc                                              Surrender the property.                                        No
                                                                                                                                                      Retain the property and redeem it.                             Yes
                                                                                    30 Chestnut St., Lee, MA, Single Family; Deed in                  Retain the property and enter into a Reaffirmation
                                                                                    Berkshire Middle 4006, Page 237.                                  Agreement.
                                                                                                                                                      Retain the property and [explain]:




                                                                               Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                       Page 1
                                                                                            Case 17-31052              Doc 17          Filed 01/16/18 Entered 01/16/18 14:55:32                             Desc Main
                                                                               Debtor 1   Richard M. Shove                                                                                                  Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 65 of 67

                                                                                    Identify the creditor and the property that is collateral     What do you intend to do with the property that               Did you claim the
                                                                                                                                                  secures a debt?                                               property as exempt
                                                                                                                                                                                                                on Schedule C?

                                                                                    Ditech Financial Llc                                               Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    7 Crystal St., LenoxDale, MA; 2 family; Deed in                    Retain the property and enter into a Reaffirmation
                                                                                    Berkshire Middle in Book 1528, Page 404                            Agreement.
                                                                                                                                                       Retain the property and [explain]:

                                                                                    Fayfinancial                                                       Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    32-36 Adams St., Pittsfield, MA; 4 Family; Deed located            Retain the property and enter into a Reaffirmation
                                                                                    in Berkshire Middle 6105/345.                                      Agreement.
                                                                                                                                                       Retain the property and [explain]:

                                                                                    Jose R. Hernandez                                                  Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    10 Crystal St, LenoxDale, MA; 3 family; Deed Located in            Retain the property and enter into a Reaffirmation
                                                                                    Berkshire Middle 2814, Page 58.                                    Agreement.
                                                                                                                                                       Retain the property and [explain]:

                                                                                    Jose R. Hernandez                                                  Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    30 Chestnut St., Lee, MA, Single Family; Deed in                   Retain the property and enter into a Reaffirmation
                                                                                    Berkshire Middle 4006, Page 237.                                   Agreement.
                                                                                                                                                       Retain the property and [explain]:

                                                                                    Jose R. Hernandez                                                  Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    32-36 Adams St., Pittsfield, MA; 4 Family; Deed located            Retain the property and enter into a Reaffirmation
                                                                                    in Berkshire Middle 6105/345.                                      Agreement.
                                                                                                                                                       Retain the property and [explain]:

                                                                                    Jose R. Hernandez                                                  Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    5 Crystal St., Lenoxdale, MA; Deed located at 1485, pg             Retain the property and enter into a Reaffirmation
                                                                                    441; Homestead in 5526, pg 148.                                    Agreement.
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                                                                                                                                                       Retain the property and [explain]: Avoid this lien
                                                                                                                                                       pursuant to § 522(f)

                                                                                    Jose R. Hernandez                                                  Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    51-53 Orchard St., Pittsfield, MA; 4 family; Deed in               Retain the property and enter into a Reaffirmation
                                                                                    Berkshire Middle in Book 1547, Page 780;                           Agreement.
                                                                                                                                                       Retain the property and [explain]:

                                                                                    Jose R. Hernandez                                                  Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    524 Walker St., Pittsfield; Deed located in book 3423,             Retain the property and enter into a Reaffirmation
                                                                                    Page 159. Property in Receivership. Order in Book                  Agreement.
                                                                                    6051/49.                                                           Retain the property and [explain]:

                                                                                    Jose R. Hernandez                                                  Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    8 Crystal St, Lenox Dale, MA; 2 family; Deed in Berkshire          Retain the property and enter into a Reaffirmation
                                                                                    Middle                                                             Agreement.
                                                                                                                                                       Retain the property and [explain]:

                                                                                    Jose R. Hernandez                                                  Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    Rental Properties owned already Individually listed.               Retain the property and enter into a Reaffirmation
                                                                                    Deed References in Berkshire Middle Registry of                    Agreement.
                                                                                    Deeds:: Book 1528, Page 404; Book 2814, Page 58; Book              Retain the property and [explain]:
                                                                                    3435, Page 134; Book 4006, Page 237; Book 1547, Page
                                                                                    780; Book 1561, Page 221; Book 3423, Page 159.
                                                                                    Property listed for Lien attachment puposes

                                                                                    Keybank, Na                                                        Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    1999 Bayliner Sunbridge Boat, has not been used in over 9          Retain the property and enter into a Reaffirmation
                                                                                    years.                                                             Agreement.
                                                                                                                                                       Retain the property and [explain]: Continue to pay
                                                                                                                                                       the obligation as permitted by applicable
                                                                                                                                                       non-bankruptcy law




                                                                               Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                    Page 2
                                                                                            Case 17-31052              Doc 17          Filed 01/16/18 Entered 01/16/18 14:55:32                             Desc Main
                                                                               Debtor 1   Richard M. Shove                                                                                                  Case number: 3:17-bk-31052
                                                                                                                                        Document     Page 66 of 67

                                                                                    Identify the creditor and the property that is collateral     What do you intend to do with the property that               Did you claim the
                                                                                                                                                  secures a debt?                                               property as exempt
                                                                                                                                                                                                                on Schedule C?

                                                                                    Nationstar Mortgage LLC                                            Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    12 Crystal St., LenoxDale, MA; 2 Family, Deed in                   Retain the property and enter into a Reaffirmation
                                                                                    Berkshire Middle Book 3435, Page 134.                              Agreement.
                                                                                                                                                       Retain the property and [explain]:

                                                                                    Nationstar Mortgage LLC                                            Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    5 Crystal St., Lenoxdale, MA; Deed located at 1485, pg             Retain the property and enter into a Reaffirmation
                                                                                    441; Homestead in 5526, pg 148.                                    Agreement.
                                                                                                                                                       Retain the property and [explain]: Continue to pay
                                                                                                                                                       the obligation as permitted by applicable
                                                                                                                                                       non-bankruptcy law

                                                                                    Nationstar Mortgage LLC                                            Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    524 Walker St., Pittsfield; Deed located in book 3423,             Retain the property and enter into a Reaffirmation
                                                                                    Page 159. Property in Receivership. Order in Book                  Agreement.
                                                                                    6051/49.                                                           Retain the property and [explain]:

                                                                                    Ocwen Loan Servicing, LLC                                          Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    10 Crystal St, LenoxDale, MA; 3 family; Deed Located in            Retain the property and enter into a Reaffirmation
                                                                                    Berkshire Middle 2814, Page 58.                                    Agreement.
                                                                                                                                                       Retain the property and [explain]:

                                                                                    Ocwen Loan Servicing, LLC                                          Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    51-53 Orchard St., Pittsfield, MA; 4 family; Deed in               Retain the property and enter into a Reaffirmation
                                                                                    Berkshire Middle in Book 1547, Page 780;                           Agreement.
                                                                                                                                                       Retain the property and [explain]:

                                                                                    Thomas McDowell                                                    Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
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                                                                                    10 Crystal St, LenoxDale, MA; 3 family; Deed Located in            Retain the property and enter into a Reaffirmation
                                                                                    Berkshire Middle 2814, Page 58.                                    Agreement.
                                                                                                                                                       Retain the property and [explain]:

                                                                                    Thomas McDowell                                                    Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    12 Crystal St., LenoxDale, MA; 2 Family, Deed in                   Retain the property and enter into a Reaffirmation
                                                                                    Berkshire Middle Book 3435, Page 134.                              Agreement.
                                                                                                                                                       Retain the property and [explain]:

                                                                                    Thomas McDowell                                                    Surrender the property.                                      No
                                                                                                                                                       Retain the property and redeem it.                           Yes
                                                                                    7 Crystal St., LenoxDale, MA; 2 family; Deed in                    Retain the property and enter into a Reaffirmation
                                                                                    Berkshire Middle in Book 1528, Page 404                            Agreement.
                                                                                                                                                       Retain the property and [explain]:


                                                                                Part 2:         List Your Unexpired Personal Property Leases
                                                                               For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form
                                                                               106G), fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease
                                                                               period has not yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. §
                                                                               365(p)(2).


                                                                                    Describe your unexpired personal property lease                                                                             Will the lease be
                                                                                                                                                                                                                assumed?


                                                                                Part 3:         Sign Below
                                                                               Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
                                                                               personal property that is subject to an unexpired lease.


                                                                                    /s/ Richard M. Shove                                                                                      01/16/2018
                                                                                    Signature of Debtor 1                                                                                     Date



                                                                               Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                         Page 3
                                                                                           Case 17-31052     Doc 17     Filed 01/16/18 Entered 01/16/18 14:55:32                         Desc Main
                                                                               Debtor 1   Richard M. Shove                                                                              Case number: 3:17-bk-31052
                                                                                                                         Document     Page 67 of 67


                                                                                    /s/ Kathleen E. Shove                                                                       01/16/2018
                                                                                    Signature of Debtor 2                                                                       Date
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                                                                               Official Form 108                Statement of Intention for Individuals Filing Under Chapter 7                              Page 4
